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                  [ORAL ARGUMENT NOT SCHEDULED]
                           CASE NO. 22-5304


                                   IN THE

           United States Court of Appeals
              FOR THE DISTRICT OF COLUMBIA CIRCUIT



                              JASON LEOPOLD,
                                                   Plaintiff-Appellant,
                                     v.

                         J. THOMAS MANGER, et al.,
                                              Defendants-Appellees


                        CORRECTED JOINT APPENDIX


    APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                   DISTRICT OF COLUMBIA


                                       JEFFREY LIGHT, D.C. BAR #485360
                                       Law Office of Jeffrey L. Light
                                       1629 K Street, N.W.
                                       Suite 300
                                       Washington, DC 20006
                                       (202) 277-6213
                                       Jeffrey@LawOfficeOfJeffreyLight.com

Dated: April 20, 2023                  Counsel for Plaintiff-Appellant
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                                     U.S. District Court
                          District of Columbia (Washington, DC)
                    CIVIL DOCKET FOR CASE #: 1:21−cv−00465−BAH

 LEOPOLD et al v. PITTMAN et al                             Date Filed: 02/23/2021
 Assigned to: Chief Judge Beryl A. Howell                   Date Terminated: 09/20/2022
 Case in other court: 22−05304                              Jury Demand: None
 Cause: Petition for Writ of Mandamus                       Nature of Suit: 890 Other Statutory
                                                            Actions
                                                            Jurisdiction: U.S. Government Defendant
 Petitioner
 JASON LEOPOLD                               represented by Jeffrey Louis Light
                                                            LAW OFFICES OF JEFFREY L. LIGHT
                                                            1629 K Street, NW
                                                            Suite 300
                                                            Washington, DC 20006
                                                            202−277−6213
                                                            Email: jeffrey@lawofficeofjeffreylight.com
                                                            ATTORNEY TO BE NOTICED

 Petitioner
 BUZZFEED, INC.                              represented by Jeffrey Louis Light
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED


 V.
 Respondent
 YOGANANDA D. PITTMAN                        represented by Michael Andrew Zee
 Acting Chief, United States Capitol                        U.S. DEPARTMENT OF JUSTICE
 Police                                                     Civil Division, Federal Programs Branch
                                                            450 Golden Gate Avenue
                                                            San Francisco, CA 94102
                                                            (415) 436−6646
                                                            Fax: (415) 436−6632
                                                            Email: m.andrew.zee@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Stuart Justin Robinson
                                                            U.S. DEPARTMENT OF JUSTICE
                                                            Civil Division, Federal Programs Branch
                                                            450 Golden Gate Ave
                                                            Suite 7−5395
                                                            San Francisco, CA 94102
                                                            (415) 436−6635
                                                            Fax: (415) 436−6632
                                                            Email: stuart.j.robinson@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

 Respondent
 MICHAEL BOLTON                              represented by Michael Andrew Zee
 Inspector General of the United States                     (See above for address)
 Capitol Police                                             LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Stuart Justin Robinson
                                                            (See above for address)
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                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED


  Date Filed   #   Docket Text
  02/23/2021    1 PETITION FOR WRIT OF MANDAMUS against MICHAEL BOLTON,
                  YOGANANDA D. PITTMAN ( Filing fee $ 402 receipt number ADCDC−8232136)
                  filed by JASON LEOPOLD, BUZZFEED, INC.. (Attachments: # 1 Exhibit 1−5, # 2
                  Civil Cover Sheet, # 3 Summons)(Light, Jeffrey) (Entered: 02/23/2021)
  02/23/2021    2 LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                  Interests by BUZZFEED, INC. (Light, Jeffrey) (Entered: 02/23/2021)
  02/23/2021       Case Assigned to Chief Judge Beryl A. Howell. (adh, ) (Entered: 02/23/2021)
  02/23/2021    3 SUMMONS (4) Issued Electronically as to MICHAEL BOLTON, YOGANANDA D.
                  PITTMAN, U.S. Attorney and U.S. Attorney General (Attachment: # 1 Notice and
                  Consent)(adh, ) (Entered: 02/23/2021)
  02/23/2021    4 STANDING ORDER. Signed by Chief Judge Beryl A. Howell on February 23, 2021.
                  (lcbah2) (Entered: 02/23/2021)
  02/25/2021    5 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                  United States Attorney. Date of Service Upon United States Attorney on 2/25/2021.
                  Answer due for ALL FEDERAL DEFENDANTS by 4/26/2021. (Light, Jeffrey)
                  (Entered: 02/25/2021)
  03/02/2021    6 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                  MICHAEL BOLTON served on 3/2/2021 (Light, Jeffrey) (Entered: 03/02/2021)
  03/02/2021    7 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                  YOGANANDA D. PITTMAN served on 3/2/2021 (Light, Jeffrey) (Entered:
                  03/02/2021)
  03/02/2021    8 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on
                  United States Attorney General. Date of Service Upon United States Attorney General
                  03/01/2021. (Light, Jeffrey) (Entered: 03/02/2021)
  04/26/2021    9 NOTICE of Appearance by Stuart Justin Robinson on behalf of All Defendants
                  (Robinson, Stuart) (Entered: 04/26/2021)
  04/26/2021   10 MOTION to Dismiss by MICHAEL BOLTON, YOGANANDA D. PITTMAN.
                  (Attachments: # 1 Memorandum in Support, # 2 Text of Proposed Order)(Robinson,
                  Stuart) (Entered: 04/26/2021)
  04/28/2021   11 NOTICE of Appearance by Michael Andrew Zee on behalf of All Defendants (Zee,
                  Michael) (Entered: 04/28/2021)
  04/29/2021       RESOLVED.....NOTICE of Provisional/Government Not Certified Status re 11
                   NOTICE of Appearance by Michael Andrew Zee on behalf of All Defendants (Zee,
                   Michael).

                   Your attorney renewal/government certification has not been received. As a result,
                   your membership with the U.S. District & Bankruptcy Courts for the District of
                   Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                   Civil Rule 83.9, you must immediately correct your membership status by following
                   the appropriate instructions on this page of our website:
                   https://www.dcd.uscourts.gov/attorney−admissions−and−renewal−information.

                   Please be advised that the presiding judge in this case has been notified that you are
                   currently not in good standing to file in this court. Renewal Due by 5/6/2021. (znmw)
                   Modified on 5/19/2021 (znmw). (Entered: 04/29/2021)
  05/10/2021   12 AMENDED COMPLAINT (First) against MICHAEL BOLTON, YOGANANDA D.
                  PITTMAN filed by JASON LEOPOLD, BUZZFEED, INC..(Light, Jeffrey) (Entered:
                  05/10/2021)


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  05/10/2021   13 Memorandum in opposition to re 10 MOTION to Dismiss filed by BUZZFEED, INC.,
                  JASON LEOPOLD. (Attachments: # 1 Text of Proposed Order)(Light, Jeffrey)
                  (Entered: 05/10/2021)
  05/17/2021   14 REPLY to opposition to motion re 10 MOTION to Dismiss filed by MICHAEL
                  BOLTON, YOGANANDA D. PITTMAN. (Zee, Michael) (Entered: 05/17/2021)
  05/24/2021   15 ANSWER to 12 Amended Complaint by MICHAEL BOLTON, YOGANANDA D.
                  PITTMAN.(Zee, Michael) (Entered: 05/24/2021)
  06/01/2021       MINUTE ORDER (paperless) DENYING AS MOOT defendants' 10 Motion to
                   Dismiss, as defendants conceded in their 14 Reply in Support of Motion to Dismiss
                   that "the Court need not resolve Defendants' Motion to dismiss at this time" in light of
                   plaintiffs' May 10, 2021 filing of their 12 Amended Complaint. Signed by Chief Judge
                   Beryl A. Howell on June 1, 2021. (lcbah2) (Entered: 06/01/2021)
  06/08/2021   16 Joint STATUS REPORT by BUZZFEED, INC., JASON LEOPOLD. (Light, Jeffrey)
                  (Entered: 06/08/2021)
  06/23/2021   17 MEET AND CONFER STATEMENT. (Attachments: # 1 Text of Proposed
                  Order)(Zee, Michael) (Entered: 06/23/2021)
  06/24/2021       MINUTE ORDER (paperless) ISSUING, in light of the parties' 17 Joint Meet and
                   Confer Report, the following SCHEDULING ORDER to govern further proceedings
                   in this matter:

                   (1) by September 16, 2021, defendants shall file their motion for summary judgment;

                   (2) by October 14, 2021, plaintiffs shall respond to defendants' motion for summary
                   judgment and file any cross−motion for summary judgment;

                   (3) by November 14, 2021, defendants shall respond to plaintiffs' cross motion for
                   summary judgment and file any reply in support of defendants' motion for summary
                   judgment; and
                   (4) by December 6, 2021, plaintiffs shall file any reply in support of their cross motion
                   for summary judgment.

                   Signed by Chief Judge Beryl A. Howell on June 24, 2021. (lcbah2) (Entered:
                   06/24/2021)
  06/25/2021       Set/Reset Deadlines: Summary judgment motion due by 9/16/2021; cross−motion and
                   opposition to summary judgment motion due by 10/14/2021; opposition to
                   cross−motion and reply to opposition to summary judgment motion due by
                   11/14/2021; reply to opposition to cross−motion due by 12/6/2021. (ztg) (Entered:
                   06/25/2021)
  09/14/2021   18 Consent MOTION for Extension of Time to File Motion for Summary Judgment by
                  MICHAEL BOLTON, YOGANANDA D. PITTMAN. (Attachments: # 1 Text of
                  Proposed Order)(Zee, Michael) (Entered: 09/14/2021)
  09/16/2021       MINUTE ORDER (paperless) GRANTING defendants' 18 Consent Motion for
                   Extension of Time, and AMENDING the SCHEDULING ORDER as follows: (1)
                   defendants shall file their motion for summary judgment by September 30, 2021; (2)
                   plaintiffs shall respond to defendants' motion for summary judgment and file any
                   cross−motions by October 28, 2021; (3) defendants shall respond to any cross−motion
                   and file any reply in support of their motion by November 29, 2021; and (4) plaintiffs
                   shall file any reply in support of a cross−motion by December 20, 2021. Signed by
                   Chief Judge Beryl A. Howell on September 16, 2021. (lcbah2) (Entered: 09/16/2021)
  09/20/2021       Set/Reset Deadlines: Summary Judgment motion due by 9/30/2021; cross−motion and
                   opposition to motion for summary judgment due by 10/28/2021; opposition to
                   cross−motion and reply to opposition to motion for summary judgment due by
                   11/29/2021; reply to opposition to cross−motion due by 12/20/2021. (ztg) (Entered:
                   09/20/2021)
  09/30/2021   19 MOTION for Summary Judgment by MICHAEL BOLTON, YOGANANDA D.
                  PITTMAN. (Attachments: # 1 Statement of Facts, # 2 Memorandum in Support, # 3
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                   Declaration of Michael Bolton, # 4 Exhibit A − Capitol Police Board Order, # 5
                   Declaration of James W. Joyce, # 6 Exhibit B − Plaintiffs' Request, # 7 Exhibit C −
                   List of Directives, # 8 Text of Proposed Order)(Zee, Michael) (Entered: 09/30/2021)
  10/20/2021   20 Unopposed MOTION for Extension of Time to File Response/Reply as to 19
                  MOTION for Summary Judgment by BUZZFEED, INC., JASON LEOPOLD.
                  (Attachments: # 1 Text of Proposed Order)(Light, Jeffrey) (Entered: 10/20/2021)
  10/22/2021       MINUTE ORDER (paperless) GRANTING plaintiffs' 20 Unopposed Motion for
                   Extension of Time to File Response/Reply, and AMENDING the SCHEDULING
                   ORDER as follows: (1) plaintiffs shall file their cross−motion for summary judgment
                   and opposition to defendants' motion by November 10, 2021; (2) defendants shall file
                   their opposition to plaintiffs' cross−motion and any reply in support of their motion for
                   summary judgment by December 17, 2021; and (3) plaintiffs shall file any reply in
                   support of their cross−motion for summary judgment by January, 24, 2022. Signed by
                   Chief Judge Beryl A. Howell on October 22, 2021. (lcbah2) (Entered: 10/22/2021)
  10/25/2021       Set/Reset Deadlines: Cross−motion and opposition to motion for summary judgment
                   due by 11/10/2021; opposition to cross−motion and reply to opposition to motion for
                   summary judgment due by 12/17/2021; reply to opposition to cross−motion due by
                   1/24/2022. (ztg) (Entered: 10/25/2021)
  11/12/2021   21 Memorandum in opposition to re 19 MOTION for Summary Judgment filed by
                  BUZZFEED, INC., JASON LEOPOLD. (Attachments: # 1 Exhibit 1−6, # 2 Statement
                  of Facts, # 3 Text of Proposed Order)(Light, Jeffrey) (Entered: 11/12/2021)
  11/12/2021   22 Cross MOTION for Summary Judgment by BUZZFEED, INC., JASON LEOPOLD.
                  (Attachments: # 1 Exhibit 1−6, # 2 Statement of Facts, # 3 Text of Proposed
                  Order)(Light, Jeffrey) (Entered: 11/13/2021)
  11/13/2021   23 MOTION for Extension of Time to File Response/Reply as to 19 MOTION for
                  Summary Judgment by BUZZFEED, INC., JASON LEOPOLD. (Attachments: # 1
                  Text of Proposed Order)(Light, Jeffrey) (Entered: 11/13/2021)
  11/16/2021   24 RESPONSE re 23 MOTION for Extension of Time to File Response/Reply as to 19
                  MOTION for Summary Judgment filed by MICHAEL BOLTON, YOGANANDA D.
                  PITTMAN. (Zee, Michael) (Entered: 11/16/2021)
  11/29/2021       MINUTE ORDER (paperless) GRANTING plaintiffs' unopposed 23 Motion for Leave
                   to File Late, and ACCEPTING for filing plaintiffs' 21 Memorandum in Opposition to
                   Defendants' Motion for Summary Judgment and 22 Cross Motion for Summary
                   Judgment. Signed by Chief Judge Beryl A. Howell on November 29, 2021. (lcbah2)
                   (Entered: 11/29/2021)
  12/17/2021   25 Memorandum in opposition to re 22 Cross MOTION for Summary Judgment filed by
                  MICHAEL BOLTON, YOGANANDA D. PITTMAN. (Attachments: # 1 Statement of
                  Facts Defendants' Response to Plaintiffs' Statement of Material Facts, # 2 Declaration
                  of Michael Bolton (Second), # 3 Text of Proposed Order)(Zee, Michael) (Entered:
                  12/17/2021)
  12/17/2021   26 REPLY to opposition to motion re 19 MOTION for Summary Judgment filed by
                  MICHAEL BOLTON, YOGANANDA D. PITTMAN. (Attachments: # 1 Declaration
                  of Michael Bolton (Second), # 2 Text of Proposed Order)(Zee, Michael) (Entered:
                  12/17/2021)
  01/24/2022   27 REPLY to opposition to motion re 22 Cross MOTION for Summary Judgment filed by
                  BUZZFEED, INC., JASON LEOPOLD. (Light, Jeffrey) (Entered: 01/24/2022)
  09/20/2022   28 ORDER GRANTING the defendants' 19 Motion for Summary Judgment and
                  DENYING the plaintiffs' 22 Cross−Motion for Summary Judgment. See Order for
                  further details. The Clerk of Court is directed to close this case. Signed by Chief Judge
                  Beryl A. Howell on September 20, 2022. (lcbah1) (Entered: 09/20/2022)
  09/20/2022   29 MEMORANDUM OPINION regarding the defendants' 19 Motion for Summary
                  Judgment and the plaintiffs' 22 Cross−Motion for Summary Judgment. Signed by
                  Chief Judge Beryl A. Howell on September 20, 2022. (lcbah1) (Entered: 09/20/2022)



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  11/18/2022   30 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 28 Order on Motion for
                  Summary Judgment, by JASON LEOPOLD. Filing fee $ 505, receipt number
                  ADCDC−9683123. Fee Status: Fee Paid. Parties have been notified. (Light, Jeffrey)
                  (Entered: 11/18/2022)
  11/18/2022   31 Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and
                  Docket Sheet to US Court of Appeals. The Court of Appeals fee was paid re 30 Notice
                  of Appeal to DC Circuit Court. (zed) (Entered: 11/18/2022)
  11/22/2022       USCA Case Number 22−5304 for 30 Notice of Appeal to DC Circuit Court filed by
                   JASON LEOPOLD. (zed) (Entered: 11/23/2022)
  12/16/2022   32 NOTICE of Appearance by Kevin Bell on behalf of All Defendants (Bell, Kevin)
                  (Entered: 12/16/2022)




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


JASON LEOPOLD,                                  )
6824 Lexington Avenue                           )
Los Angeles, CA 90038,                          ) Civil Action No. 1:21-cv-465 (BAH)
                                                )
       and                                      )
                                                )
                                                )
BUZZFEED, INC.,                                 )
111 E. 18th St.                                 )
New York, NY 10003,                             )
                                                )
               PLAINTIFFS                       )
       vs.                                      )
                                                )
YOGANANDA D. PITTMAN,                           )
Acting Chief,                                   )
United States Capitol Police,                   )
119 D St., N.E.                                 )
                                                )
Washington, DC 20510,                           )
                                                )
       and                                      )
                                                )
MICHAEL BOLTON,                                 )
Inspector General of the                        )
United States Capitol Police,                   )
119 D St., N.E.                                 )
Washington, DC 20510,                           )
                                                )
                                                )
                                                )
               DEFENDANTS
                                                )
                                                )
                                                )


                                FIRST AMENDED COMPLAINT


                                   STATEMENT OF FACTS

   1. Plaintiff Jason Leopold is a Senior Investigative Reporter for BuzzFeed News covering a

wide range of issues. Plaintiff BuzzFeed, Inc. (BuzzFeed) is a digital media company with a news

and entertainment network that reaches hundreds of millions of people globally. Mr. Leopold seeks



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records he intends to use in writing one or more news stories for his employer regarding the United

States Capitol Police (USCP).

   2. The Capitol Police is headed by a Chief who is appointed by, and serves at the pleasure of,

the Capitol Police Board (CPB). 2 U.S.C. § 1901. Defendant Yogananda Pittman is the Acting Chief

of the USCP.

   3. Within the USCP, there is an Office of the Inspector General which is headed by the

Inspector General of the United States Capitol Police. 2 U.S.C. § 1909(a). Defendant Michael Bolton

is the Inspector General of the United States Capitol Police.

   4. On January 28, 2021, Mr. Leopold sent identical letters to the USCP’s Public Information

Office (PIO) and the Office of the Inspector General (OIG) requesting access to: Inspector General

semiannual reports for 2015 forward; other Inspector General reports, including audits for 2008

forward; annual financial statements and audits of annual financial statements for 2015 forward;

semiannual reports of disbursements for 2015 forward; USCP written directives in effect on January

6, 2021; and demonstration permits, denials, or other written memorials of final decisions relating to

permits for public gatherings on the Capitol grounds for January 6, 2021.

   5. Mr. Leopold received an email dated February 11, 2021 from James Joyce, counsel for the

U.S. Capitol Police, which stated Mr. Leopold may contact OIG regarding the first three parts of his

request; that Mr. Leopold could obtain the Statements of Disbursements by requesting them from the

House Legislative Resource Center; that USCP directives are not public records and will not be

provided; and that USCP Special Events permits do not include public records and will not be

provided.

   6. On information and belief, one or more individuals or groups applied for permits to

demonstrate on the Capitol Grounds on January 6, 2021.

                                          JURISDICTION
   7. Jurisdiction is based on 28 U.S.C. § 1361.

                                                   2

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                                  COUNT I:
               VIOLATION OF THE COMMON LAW RIGHT OF ACCESS
   8. Despite having a legal obligation to do so under the common law, Defendants have failed

to produce the Inspector General semiannual reports for 2015 forward; other Inspector General

reports, including audits for 2008 forward; annual financial statements and audits of annual financial

statements for 2015 forward; USCP written directives in effect on January 6, 2021; and

demonstration permits, denials, or other written memorials of final decisions relating to permits for

public gatherings on the Capitol grounds for January 6, 2021.


                                      COUNT II:
                             VIOLATION OF 2 U.S.C. § 1909(c)(2)
   9. Pursuant to 2 U.S.C. § 1909(c)(2), the USCP “Inspector General shall prepare and submit

semiannual reports summarizing the activities of the Office in the same manner, and in

accordance with the same deadlines, terms, and conditions, as an Inspector General of an

establishment under section 5 (other than subsection (a)(13) thereof) of the Inspector General

Act of 1978, (5 U.S.C. App. 5).”

   10. Section 5(c) of the Inspector General Act of 1978, in turn, provides that “[w]ithin sixty days

of the transmission of the semiannual reports of each Inspector General to the Congress, the head of

each establishment shall make copies of such report available to the public upon request and at a

reasonable cost.”

   11. Defendants have failed to make copies of the semiannual reports available to Plaintiffs upon

request.


                                      COUNT III:
                             VIOLATION OF 2 U.S.C. § 1909(c)(1)
   12. Pursuant to 2 U.S.C. § 1909(c)(1), the USCP “Inspector General shall carry out the same

duties and responsibilities with respect to the United States Capitol Police as an Inspector General of

                                                   3

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an establishment carries out with respect to an establishment under section 4 of the Inspector General

Act of 1978, (5 U.S.C. App. 4), under the same terms and conditions which apply under such

section.”

    13. Under § 4(e)(1) of the IG Act, “whenever an Inspector General issues a recommendation for

corrective action to the agency, the Inspector General . . . (C) not later than 3 days after the

recommendation for corrective action is submitted in final form to the head of the establishment,

[shall] post the document making a recommendation for corrective action on the website of the

Office of Inspector General.”

    14. Defendants have failed to post to the website of the Office of Inspector General all

documents making a recommendation for corrective action.

    15. Under § 8M(b)(1)(A) of the IG Act, “any audit report, inspection report, or evaluation report

(or portion of any such report)” must be posted to the IG’s website within three days after it is

submitted in final form to the head of the Federal agency.

    16. Defendants have failed to post to the Inspector General’s website all audit reports, inspection

reports, and evaluation reports (or portion of any such reports).

    17. The Inspector General’s website contains only four audits, which are Peer Review Reports

from 2019, 2016, 2013, and 2010.


                                        PRAYER FOR RELIEF

    WHEREFORE, Plaintiffs respectfully request that this Court:

    (1) Declare Defendants’ conduct to be unlawful;

    (2) Order Defendants to produce to Plaintiffs the Inspector General semiannual reports for

        2015 forward; other Inspector General reports, including audits for 2008 forward; annual

        financial statements and audits of annual financial statements for 2015 forward; USCP

        written directives in effect on January 6, 2021; and demonstration permits, denials, or other


                                                    4

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      written memorials of final decisions relating to permits for public gatherings on the Capitol

      grounds for January 6, 2021;

   (3) Order Defendants to post to the website of the Office of Inspector General and to produce to

      Plaintiffs all documents making a recommendation for corrective action;

   (4) Order Defendants to post to the Inspector General’s website and produce to Plaintiffs all

      audit reports, inspection reports, and evaluation reports (or portion of any such reports),

      except for the four audits already on the website; and

   (5) Award Plaintiffs such other and further relief as the Court deems appropriate.



                                                      Respectfully Submitted,

                                                      __/s/ Jeffrey Light_______________
                                                         Jeffrey L. Light
                                                         D.C. Bar #485360
                                                         1712 Eye St., NW
                                                         Suite 915
                                                         Washington, DC 20006
                                                         (202)277-6213
                                                         Jeffrey@LawOfficeOfJeffreyLight.com

                                                          Counsel for Plaintiffs




                                                 5

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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD; BUZZFEED, INC.,

               Plaintiffs,

   v.
                                                       Case No. 1:21-cv-00465-BAH
YOGANANDA D. PITTMAN, in her official
capacity as Acting Chief of the United States
Capital Police; MICHAEL BOLTON, in his
official capacity as Inspector General of the
United States Capitol Police,

               Defendants.


     DEFENDANTS’ ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

        Defendants, Yogananda D. Pittman, in her official capacity as Acting Chief of the United

States Capital Police; and Michael Bolton, in his official capacity as Inspector General of the

United States Capitol Police, hereby answer Plaintiffs’ Amended Complaint, ECF No. 12.

Responding to each paragraph of the Complaint paragraph by paragraph, using the same paragraph

numbering as Plaintiffs use in their Complaint, Defendants state:

        1.     Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations of this paragraph.

        2.     Defendants admit that Defendant Yogananda Pittman is the Acting Chief of the

United States Capitol Police (USCP). The remaining allegations in this paragraph consist of

conclusions of law to which no response is required.

        3.     Defendants admit that Defendant Michael Bolton is the Inspector General of USCP.

The remaining allegations in this paragraph consist of conclusions of law to which no response is

required.


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          4.   Defendants admit that USCP received an undated letter from Plaintiff Leopold

requesting copies of certain documents from USCP, and respectfully refer the Court to that letter

for a full and accurate statement of its contents. The allegations of this paragraph are otherwise

denied.

          5.   Defendants admit that USCP responded to Plaintiffs’ letter by email dated February

11, 2021, and respectfully refer the Court to that email for a full and accurate statement of its

contents. The allegations of this paragraph are otherwise denied

          6.    The allegations of this paragraph are admitted.

          7.    This paragraph contains a legal conclusion to which no response is required. To

the extent a response is deemed required, the allegation is denied.

          8.    The allegations of this paragraph are denied.

          9.    This paragraph consists of legal conclusions to which no response is required.

          10.   This paragraph consists of legal conclusions to which no response is required.

          11.   The allegations of this paragraph are denied.

          12.   This paragraph consists of legal conclusions to which no response is required.

          13.   This paragraph consists of legal conclusions to which no response is required.

          14.   The allegations of this paragraph are denied.

          15.   This paragraph consists of legal conclusions to which no response is required.

          16.   The allegations of this paragraph are denied.

          17.   Defendants admit that the Inspector General’s website contains Peer Review

Reports from 2019, 2016, 2013, and 2010, and otherwise deny the allegations of this paragraph.

          The remaining allegations following the unnumbered paragraph beginning with

“WHEREFORE” constitute Plaintiffs’ requests for relief, to which no response is required. To the

extent a response is deemed required, USCP denies that Plaintiffs are entitled to the requested
                                                 2

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relief or any other relief.

        Defendants hereby deny all allegations in the Amended Complaint not expressly admitted

or denied herein.

        The section headings used in Plaintiffs’ Amended Complaint are Plaintiffs’

characterizations of their claims to which no response is required, but to the extent a response is

deemed required, those headings are denied.

                                            DEFENSES

        1.      The Court lacks subject matter jurisdiction to hear the claim in this case.

        2.      The Complaint fails to state a claim upon which relief can be granted.




Dated: May 24, 2021                            Respectfully submitted,

                                               BRIAN M. BOYNTON
                                               Acting Assistant Attorney General

                                               JOHN R. GRIFFITHS
                                               Director
                                               Federal Programs Branch

                                               MARCIA BERMAN
                                               Assistant Director
                                               Federal Programs Branch

                                               /s/ M. Andrew Zee
                                               M. ANDREW ZEE (CA Bar No. 272510)
                                               Attorney
                                               United States Department of Justice
                                               Civil Division, Federal Programs Branch
                                               450 Golden Gate Ave.
                                               San Francisco, CA 94102
                                               Tel: (415) 436-6646
                                               Fax: (415) 436-6632
                                               E-mail: m.andrew.zee@usdoj.gov

                                               Counsel for Defendants
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD; BUZZFEED, INC.,

               Plaintiffs,

   v.
                                                       Case No. 1:21-cv-00465-BAH
J. THOMAS MANGER, in his official capacity
as Chief, U.S. Capitol Police; MICHAEL
BOLTON, in his official capacity as Inspector
General of the U.S. Capitol Police,

               Defendants.


                             DECLARATION OF MICHAEL BOLTON
        I, Michael Bolton, declare as follows:

        1.     I am the Inspector General (IG) for the U.S. Capitol Police (USCP or Department),

a position I have held since January 20, 2019. From March 2018 to January 2019, I served as the

Acting Inspector General, and from August 2006 to March 2018 as the Assistant Inspector General

for Investigations. As Inspector General, I head the Department’s Office of Inspector General

(OIG), which supervises and conducts audits, inspections, and investigations involving USCP

programs, functions, systems, and operations.

        2.     OIG’s objectives include promoting economy, efficiency, and effectiveness in the

administration of USCP programs and operations; preventing and detecting fraud, waste, abuse,

and mismanagement in USCP programs and operations; preventing, detecting, and handling cases

involving misconduct; and issuing Semiannual Reports to Congress that describe OIG activities.

As Inspector General, I report directly to the Capitol Police Board, which, along with Congress,

has oversight responsibility for the Department.

        3.     On or around January 28, 2021, OIG received from Jason Leopold of Buzzfeed

News, both Plaintiffs in this case, a request for certain OIG documents under an asserted common




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law right of access to public records. A copy of that request can be found at ECF No. 1-1, Exhibit

1. Plaintiffs requested three categories of OIG documents, as follows:

                   •   Inspector General semiannual reports for the period of 2015
                       forward.

                   •   Inspector General reports, including audits, for the period
                       2008 forward.

                   •   Annual financial statements and audits of annual financial
                       statements for the period of 2015 forward.
Plaintiff also requested three categories of non-OIG information from the USCP. This request is

the subject of the instant litigation, Buzzfeed, Inc. v. Manger, No. 21-cv-00465 (D.D.C.). This

Declaration addresses only the categories of requested OIG documents.

       4.      Because the second requested category is for all Inspector General “reports,” and

because such reports include “semiannual reports” (first requested category) and “audits of

financial statements” (third requested category), Plaintiffs’ second requested category subsumes

the other two categories. OIG has thus interpreted Plaintiffs’ request as one for all reports for the

period 2008 forward. OIG has declined to provide any of the materials in response to Plaintiffs’

request and, indeed, is prohibited from doing so by statute and order of the Capitol Police Board,

as discussed below. This Declaration provides information in support of OIG’s determination not

to provide any of the requested information.

       5.      In 2005, Congress directed the establishment of the Office of the Inspector General

and the appointment of an Inspector General for the Department, and in 2006 the first IG was

sworn in. I am the third individual to occupy the Inspector General position. The IG is responsible

for conducting and supervising audits and investigations of the Department. OIG examines,

evaluates and, where necessary, critiques programs and operations, and makes recommendations

for ways to carry out USCP responsibilities in the most effective, efficient, and economical manner

possible.




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       6.     In general, OIG conducts audits and investigations based on several different

criteria. OIG exercises discretion and can affirmatively select particular programs or activities to

audit or investigate; for example, if a program or activity is newly instituted or has not recently

been the subject of an OIG audit or investigation. OIG also conducts audits or investigations when

specific subjects are requested by Congress, the Chief of the Capitol Police, or the Capitol Police

Board. Finally, OIG maintains a hotline for any member of the public or any USCP employee to

submit a complaint; OIG will typically investigate any non-frivolous complaint that it receives

through this hotline.

       7.     OIG issues several types of reports. First, when OIG conducts an audit or

investigation, it typically produces a report at the conclusion of that audit or investigation. Second,

as required by statute, OIG produces a semi-annual report summarizing the work OIG initiated

and completed during the preceding six-month period. The semi-annual reports, or SARs, are

provided by OIG to the Chief of the Capitol Police, who is then responsible for providing the SARs

to the committees of Congress specified by statute. The contents of each SAR are prescribed by

section 5(a) of the Inspector General Act of 1978. Third, OIG compiles on an annual basis a

financial audit report on the USCP’s annual financial statements. Because each SAR is required

to include summaries of all work OIG conducted during the preceding six-month period, all

categories of reports, whether resulting from audits, investigations, or financial audits, are included

in the SAR. An OIG report might include a finding that the USCP, in implementing a particular

program, has not complied with all program requirements, and recommend comprehensive

compliance in the future. A report could also include, for example, findings and recommendations

regarding sensitive posting locations for USCP officers and personnel in the Capitol building and

on Capitol Grounds in order to improve the security and safety of the Capitol and USCP protectees.

Finally, an audit of OIG’s financial statements could recommend stronger internal controls in

specified areas, for example, for payroll verification purposes.

       8.      By Order dated December 12, 2017 (the “2017 Order”), the Capitol Police Board,

acting under its statutory authority to determine the release of security information, see 2 U.S.C.

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§ 1979, prohibited the distribution of all Office of Inspector General information, to include audit

reports, investigations reports, analyses, review, evaluations, and annual work plans, beyond the

USCP or the Capitol Police Board. That order is entitled Capitol Police Board Order 17.16, Office

of Inspector General Information (Dec. 12, 2017), and a true and correct copy is attached to this

Declaration as Exhibit A. In addition, the Board, citing the “national security and law enforcement

sensitive information” that is “obtain[ed] and secure[d]” by OIG, stated that all OIG information

was to be “considered and conspicuously designated as law enforcement sensitive and/or

deliberative process material subject to applicable statutory restrictions and privileges.” Id.

Finally, the Board ordered that secondary distribution—that is, distribution beyond those permitted

to obtain it—of any OIG information was prohibited absent prior authorization of the Board and

the Inspector General. Id. The effect of this 2017 Order is to prohibit the release of any OIG

information unless that release is specifically authorized by the Capitol Police Board.

       9.      Consistent with its terms, OIG implements the 2017 Order by not disclosing any

OIG information outside the USCP or the Board unless that disclosure is specifically authorized

by the Board. As a result of the 2017 Order, all OIG information is treated as “security

information” as defined by statute, see 2 U.S.C. § 1979(a). For example, when OIG finalizes a

report, it conspicuously marks that report as restricted distribution. OIG will distribute a report to

the Capitol Police Chief, the Capitol Police Board, and the USCP’s congressional oversight

committees (or, if a SAR, to the Chief alone), but makes no further distribution. Any further

distribution of a report requires the specific approval of the Capitol Police Board. OIG applies this

non-disclosure rule to all OIG information, including information that was generated prior to the

issuance of the 2017 Order. (There is an exception to this non-disclosure rule, recognized in 2

U.S.C. § 1979(c), in the event that Congress, typically acting through one of the USCP’s oversight

committees, requests OIG information; in the event of such a request, Capitol Police Board

approval is not required.)

       10.     With respect to the OIG reports requested by Plaintiffs in this litigation, the Board

has not authorized their public disclosure, and those reports therefore cannot be released.

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       1I.     While the 2017 Order independently prohibits release of the requested OIG
information to Plaintiffs, the requested materials are in any event not "public records" to which a
common law right of access would apply. OIG reports are not created or kept to memorialize or
record any official action by the USCP, nor are they maintained or kept for that purpose. Rather,
OIG reports contain findings regarding USCP programs and operations and, if warranted,
recommendations to the USCP leadership and the Capitol Police Board for areas of improvement
in those programs and operations. OIG reports do not, in and of themselves, result in or compel
any action by the Department.
       12.     In specifying what is to be included in every SAR, for example, the portions of the
Inspector General Act applicable to OIG- sections 5(a)(2) and 5(a)(3)- provide only that OIG is
to describe recommendations for corrective action, and to identify prior recommendations for
corrective action that have not been completed. OIG lacks authority to implement its own
recommendations or otherwise to correct perfonnance areas that it may find deficient or otherwise
problematic. The authority to take such action, and any official action on behalf of the Capitol
Police, instead resides in the Chief of the Capitol Police and the Capitol Police Board.



       I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct.
       Executed on this 30th day of September, at Washington, D.C.




                                                          ~--4 ~ , I I
                                                                     Michael Bolton




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                                     CAPITOL POLICE BOARD
                                               S-161 The Capltol
                                            WASHINGTON, DC 20510
                                                 ~ima=+-=4t

FRANK J. LARKIN, Chairman
PAUL D. IRVING, Member
STEPHEN T. AYERS, FAIA, LEED AP, M1mb111r
MATTHEW R. VERDEROSA, Ex-otflclo Member
                                 CAPITOL POLICE BOARD ORDER 17.16
                            OFFICE OF INSPECTOR GENERAL INFORMATION


            Sec. 1. Pursuant to the authorities of the Capitol Po)ice Board with regard lo its general
     supervision ofthe Inspector General for the United States Capitol Police and the establishment ofthe
     Office of Inspector General under the provisions of 2 U.S. Code § 19091 and pw-suant to the authorities
     provided under 2 U.S. Code § 1979 regarding the statutory authority of the Capitol Police Board to
     determine the release of security infonnation, the Capitol Police Board hereby orders and directs the
     following:

            (a) Office oflnspector General information (to include, but not limited to, audit reports,
                investigations reports, analyses, reviews, evaluations, annual work plans) shall not be posted
                to internal or external websites or distributed outside the United States Capitol Police or
                Capitol Police Board;
            (b) Due to the fact the Office of Inspector General obtains and secures national security and law
                enforcement sensitive information, all Office of ln~tor General information shall be
                considered and conspicuously designated as law enforcement sensitive and/or deliberative
                process material subject to applicable statutory restrictions arid privileges.

             Se1:. l. The Capitol Police Board orders and directs that no secondary distribution ofOffice of
     Inspector General information shall be made without prior authorization of the Capitol Police Board and
     the Inspector General consistent with applicable law, regulation, and policy.




~-      airman
     Capitol Police Board                                                       Capitol Police Board




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD; BUZZFEED, INC.,

               Plaintiffs,

   v.
                                                     Case No. 1:21-cv-00465-BAH
J. THOMAS MANGER, in his official capacity
as Chief, U.S. Capitol Police; MICHAEL
BOLTON, in his official capacity as Inspector
General of the U.S. Capitol Police,

               Defendants.


                             DECLARATION OF JAMES W. JOYCE
        I, James W. Joyce, declare as follows:

        1.     I am a Senior Counsel in the Office of the General Counsel, General Law Division,

for the U.S. Capitol Police (USCP or Department). In this position, I provide general legal advice

and legal assistance on, among many other things, criminal matters, constitutional matters,

appropriations and procurement matters, matters concerning tort claims, and the overall operations

of the Department. I have worked for the USCP in the Office of the General Counsel since

November 2004.

        2.     As part of my duties, together with the USCP’s Public Information Office, I oversee

the USCP’s responses to requests by members of the public for USCP information. Although the

USCP is not subject to the Freedom of Information Act (FOIA) because it is part of the Legislative

Branch, see 5 U.S.C. §§ 551(1)(A), 552(f)(1) (excluding the Legislative Branch from an “agency”

subject to the requirements of FOIA), the USCP nonetheless occasionally receives FOIA and

FOIA-like requests for incident reports, arrest reports, video footage, and other documents,

records, and information. (The USCP also receives official requests for information from its

oversight committees in Congress, the Capitol Police Board, and other official entities. I am not




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generally responsible for responding to such requests, and they are not the subject of this

Declaration.)

        3.      On or around January 28, 2021, the USCP received from Jason Leopold of

Buzzfeed News, both Plaintiffs in this case, a request for certain documents under an asserted

common law right of access to public records. A true and correct copy of that request is attached

to this Declaration as Exhibit B. Plaintiffs requested six categories of documents, as follows:


                   •   Inspector General semiannual reports for the period of 2015
                       forward.

                   •   Inspector General reports, including audits, for the period
                       2008 forward.

                   •   Annual financial statements and audits of annual financial
                       statements for the period of 2015 forward.

                   •   Semiannual reports of disbursements for 2015 forward.

                   •   USCP written directives in effect on January 6, 2021.

                   •   Demonstration permits, denials, or other written memorials
                       of final decisions relating to permits for public gatherings on
                       the Capitol grounds for January 6, 2021.

These requests are the subject of the instant litigation, Buzzfeed, Inc. v. Manger, No. 21-cv-00465

(D.D.C.). The first three categories of documents are maintained by the USCP’s Office of

Inspector General (OIG). The fourth category is maintained by the Office of the Clerk of the

House of Representatives. Only the final two categories of documents are maintained by the

USCP:

        4.      On behalf of the USCP, I responded to Plaintiffs’ request by email on February 11,

2021. A copy of that email can be found at ECF No. 1-1, Exhibit 2. My response referred Plaintiffs

to OIG for the first three categories requested and to the House Legislative Resource Center for

the fourth category requested, and declined to provide the final two requested categories of

information from the USCP.

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       5.     I understand that on or around April 27, 2021, the Office of the Clerk of the House

of Representatives sent to Plaintiffs copies of the requested semiannual reports of disbursements

from 2015 forward—that is, the fourth category of documents requested. My understanding is that

there is no longer any dispute in this litigation concerning this fourth category of documents.

       6.     On August 17, 2021, the USCP made a discretionary release to Plaintiffs. This

discretionary release included all documents in the sixth requested category—demonstration

permits, denials, or other written memorials of final decisions relating to permits for public

gatherings on the Capitol grounds for January 6, 2021. The released documents comprised six

permits, the accompanying applications, and related documentation, and contained limited

redactions for personal contact information of identified individuals and the names of line-level

USCP personnel.       My understanding is that there is no longer any dispute in this litigation

concerning this sixth category of documents.

       7.     In response to Plaintiffs’ fifth requested category, the USCP located 178 directives

that were in effect on January 6. Plaintiffs themselves had previously obtained one of those

directives and attached it as Exhibit 4 to their Petition for a Writ of Mandamus. See ECF No. 1-1

at 10. That directive, USCP directive 2053.013, Rules of Conduct, is one that the USCP has filed

on the public docket in connection with litigation over personnel matters. On August 17, 2021,

the USCP made a discretionary release to Plaintiffs of an additional directive, USCP directive

1000.002, Retrieval of Archived Video, which it had also filed on the public docket in connection

with litigation. Following this discretionary release, that left 176 directives at issue.
       8.      In that same August 17 release, in response to a prior request from Plaintiffs’

counsel, the USCP provided a list of the 104 written directives that were in effect on January 6,

2021 that had at that time been determined by a USCP Document Review Team not to be “security

information” under 2 U.S.C. § 1979. Insofar as these 104 directives are concerned, on September

13, 2021, Plaintiffs stated that they were willing to narrow their request to 34 such directives. On

September 16, 2021, the USCP provided an update to Plaintiffs that seven additional directives

had been determined not to be security information, and provided Plaintiffs with that list of seven.

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On September 17, 2021, Plaintiffs stated that they were willing to narrow their request to two of

those seven directives, bringing to 36 the total number of non-security information directives that

are at issue (out of a total of 111 non-security information directives originally requested).

       9.     The remaining 65 (176 – (104 + 7)) of the directives that were in effect on January

6 have been determined by a USCP Document Review Team to be security information under 2

U.S.C. § 1979, and their disclosure is therefore prohibited absent specific authorization from the

Capitol Police Board. The Board has not authorized disclosure of any of these directives, and they

are therefore prohibited from release.

       10.    Attached as Exhibit C to this Declaration is a list of the titles of the 101 directives

that are currently at issue in this litigation (i.e., the 36 non-security information directives and the

65 security information directives). Exhibit C shows the directive number, the directive title, and

whether a directive has been determined to be or not to security information. In addition, I have

set forth below the categorical series headings, corresponding to directive numbers, into which

each of the directives in Exhibit C falls:
       VOLUME I: OPERATIONS
       Series 1000 General Operational Management (Miscellaneous)
       Series 1010 Authority &Jurisdiction
       Series 1020 Enforcement
       Series 1030 Protection, Detection & Assessment
       Series 1040 Building Security & Regulations
       Series 1050 Response, Deployment & Mitigation
       Series 1060 Evidence & Property
       Series 1070 Uniforms, Clothing & Equipment
       Series 1080 Public Service & Affairs


       VOLUME II: ADMINISTRATION
       Series 2000 General Administrative Management (Miscellaneous)
       Series 2010 Department Publications
       Series 2020 Correspondence, Records & Forms
                                                   4

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       Series 2030 Audits, Inspections & Management/Internal Controls
       Series 2040 Legal, Regulatory & Legislative Matters
       Series 2050 Human Capital
       Series 2060 Education & Training
       Series 2070 Financial Management
       Series 2080 Information Systems & Technology
       Series 2090 Facilities & Logistics

       11.     None of the requested USCP directives, regardless of whether they are security

information under 2 U.S.C. § 1979, constitute “public records” to which the public has a common

law right of access. Each page of every directive is marked “Law Enforcement Sensitive.” The

Law Enforcement Sensitive designation—which is distinct from “security information” under 2

U.S.C. § 1979—is used widely throughout federal, state, and local law enforcement agencies to

control and safeguard sensitive information. Within the USCP that designation indicates that such

information should only be accessed by those with a need to know and should be reasonably

protected from unauthorized disclosure.        As indicated by the Law Enforcement Sensitive

designation on each page, these directives contain operational information that would reveal

confidential sources and methods, investigative activities and techniques. They also reflect the

USCP’s internal policies, rules, protocols, and guidance for USCP personnel on a variety of

subjects, including Capitol security, traffic enforcement, law enforcement training, interacting
with Congress, and workplace rules and benefits. The directives consist of, for example, how

USCP personnel are to respond to particular threats or incidents; USCP weapons policies; uniform

and equipment policies; traffic control policies; and a variety of personnel policies and programs.

I note here that, as such, USCP directives describe “information related solely to the internal

personnel rules and practices of an agency” and would fall under Exemption 2 of the Freedom of

Information Act, if the USCP were subject to the Freedom of Information Act. Further, USCP

directives are not intended to record any official USCP actions, but rather to establish forward-

looking policies or guidance for its personnel in executing their job responsibilities, at which point

the USCP may take official action or make an official decision. To my knowledge, none of these
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 directives have been publicly disclosed; those which have been previously disclosed were, as noted

 above, provided to Plaintiffs in this case.

         12.    Were these directives, particularly those detennined to be security infonnation, to

 be publicly disclosed by order ofthis Court, I believe it would impair the USCP's ability to execute

 its mission of protecting the U.S. Capitol and the Congress. Granting public access to the sensitive

 Jaw enforcement infonnation contained in the security information directives could unduly reveal

 the methods, techniques, and responses that the USCP employs for Capitol Grounds security and

 could also increase the potential for individuals and groups that wish to disrupt, attack, or harm

 the Capitol or the Congress to do so.




        I declare under penalty of perjury under the laws of the United States that the foregoing is

 true and correct.

        Executed on this 30th day of September, at Washington, D.C.




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BuzzFeed~ews
6824 Lexington Blvd., Los Angeles, CA 90038



TO: U.S. Capitol Police Public Information Office, PIO@uscp.gov
Pursuant to the federal common law right of access, I request the records described below. I
request that all records be provided to me in electronic format by email, or alternatively on
optical media such as a CD or DVD. If I do not receive a decision on whether my request will be
granted within 20 business days, I will consider my request to be constructively denied.


The records requested are:


        1.      Inspector General semiannual reports
Pursuant to 2 U.S.C. § 1910(a), “The Inspector General shall prepare and submit semiannual
reports summarizing the activities of the Office in the same manner, and in accordance with the
same deadlines, terms, and conditions, as an Inspector General of an establishment under
section 5 (other than subsection (a)(13) thereof) of the Inspector General Act of 1978, (5 U.S.C.
App. 5).” I request all such semiannual reports summarizing the activities of the Office of the
Inspector General for the period of 2015 forward.
        2.      Inspector General reports, including audits
I request all other Office of the Inspector General (OIG) reports, including any audits, for the
period 2008 forward.
        3.      Annual financial statements and audits of annual financial statements
Pursuant to 2 U.S.C. § 1903(b)(2), “The Chief Administrative Officer shall . . . (D)
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be audited by the Inspector General of the Capitol Police or by an independent public
accountant, as determined by the Inspector General.” I request all such annual financial
statements and audits for the period of 2015 forward.
        4.      Semiannual report of disbursements
Pursuant to 2 U.S.C. § 1910(a), “Not later than 60 days after the last day of each semiannual
period, the Chief of the Capitol Police shall submit to Congress, with respect to that period, a
detailed, itemized report of the disbursements for the operations of the United States Capitol
Police.” I request all such semiannual reports of disbursements for the period of 2015 forward.
        5.      United States Capitol Police written directives
I request all United States Capitol Police written directives that were in force as of January 6,
2021.
        6.      Demonstration permits, denials, or other written memorials of final decisions
        relating to permits for public gatherings on the Capitol grounds for January 6, 2021
Public gatherings occurred on January 6, 2021 on the Capitol grounds. I request any
demonstration permits, denials, or other written memorials of final decisions relating to permits



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BuzzFeed~ews
6824 Lexington Blvd., Los Angeles, CA 90038



for public gatherings on the Capitol grounds for January 6, 2021. I note that these public
gatherings were not covered by the permit issued by the United States Park Police to Women
for America in connection with the “March for Trump,” which excluded from its scope “rallies at
the United States Capitol to hear the results of Congressional certification of the Electoral
College count.” See U.S. Park Police Permit #21-0278 (Amended).


Thank you.
Jason Leopold
Senior Investigative Reporter
BuzzFeed News




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 Directive Number                                                              Title                                                 § 1979 Review
     1000 001                                             USCP Personnel-Led Tours of the Capitol                                        Not SI
     1010 004                    Providing Police Services to the Thurgood Marshall Federal Judiciary Building {TMFJB)                   Not SI
     1020 001                                                          Bias-Based Profiling                                              Not SI
     1020 002                                                           Handling Juveniles                                               Not SI
     1020 006                           District of Columbia Conditions of Release Enforcement {CORE) Program                            Not SI
     1020 007                                         Emergency Hospitalization of Mentally Ill Persons                                  Not SI
     1020 009                                        Handling Interactions with Transqender Individuals                                  Not SI
     1020 010                       Communicating With the Deaf/Hard of Hearing during Arrest, Stops, and Contacts                       Not SI
     1020 012                                           Use of Long-Range Acoustical Device (LRAD)                                       Not SI
     1021 001                                                           Search of Persons                                                Not SI
     1021 005                                                     Citation Release Processing                                            Not SI
     1021 006                                                    Delays in Processing Arrestees                                          Not SI
     1022 001                                                          Traffic Enforcement                                               Not SI
     1023 004                                                       Arraignment of Arrestees                                             Not SI
     1032 001                                               Conducting Preliminary Investigations                                        Not SI
     1041 002                                  Confiscation of Ammunition Self-Defense Spray, or Stun Gun                                Not SI
     1060 001                                                         Cell Phone Recovery                                                Not SI
     1062 001                                                     Crime Scenes and Evidence                                              Not SI
     1073 001                                                        Protective Body Armor                                               Not SI
     1080 001                                                              Media Policy                                                  Not SI
     2000 001                                      Organizational and Management Structure of the USCP                                   Not SI
     2023 002                                            Coordination with MPDC Regarding Reports                                        Not SI
     2023 003                                               Security and Release of Police Reports                                       Not SI
     2031 001                         Roles Authority, and Responsibilities of the Office of Inspector General (OIG)                     Not SI
     2033 001                                                           Complaint Process                                                Not SI
     2043 001                                                              Ethics Policy                                                 Not SI
     2052 006                                Notification and Reporting for Duty during Emergency Situations                             Not SI
     2052 012                                                   Police Training Officer Program                                          Not SI
     2053 002                                                         Grievance Procedures                                               Not SI
     2053 011                                          Anti-Discrimination and Anti-Harassment Policy                                    Not SI
     2053 013                                                            Rules of Conduct                                                Not SI
     2053 019                                             Employee Use of Electronic Social Media                                        Not SI
     2064 001                                               Rayburn House Office Building Range                                          Not SI
     2071 001                                                 Budget Object Classification Codes                                         Not SI
     2074 003                                                        Purchase Card Program                                               Not SI
     2081 001                         Acceptable Use of the Internet, Email and Information Technology Equipment                         Not SI
     1000 002                                                     Retrieval of Archived Video                                              SI
     1010 001                              Police Authority Shared with Other Law Enforcement Organizations                                SI
     1010 002                                                       Jurisdiction and Authority                                             SI
     1010 003                                    Criminal History Requests from Congressional Employers                                    SI
     1012 001                            Demonstration Activities1 Application, Interpretation, and Enforcement                            SI
     1020 003                                                     Use of Handcuffs/Restraints                                              SI
     1020 004                                                              Use of Force                                                    SI
     1020 005         Contact and Processing Individuals with Unique Circumstances {Diplomats Military Personnel, Members, etc )           SI
     1020 011                                                  Electronic Control Devices (ECD)                                            SI
     1021 004                                               Executing Arrest and Search Warrants                                           SI
     1022 005                                           Suspicious Activity and Stop or Contact Report                                     SI
     1022 006       Truck/Unauthorized Vehicle Interdiction Monitoring Program and Truck/Unauthorized Vehicle Interdiction Program         SI
     1030 001                                       Securing the Capitol Complex During Active Threats                                     SI
     1031 001                                                          Congressional Pages                                                 SI
     1032 002                                    Interception or Recording of Wire or Oral Communications                                  SI
     1033 001                                         Information Exchange with Other Police Agencies                                      SI
     1040 001                  Lost, Stolen Confiscated, or Recovered Congressional ID Cards and USCP-lssued ID Cards                      SI
     1040 002                                                           Security Screening                                                 SI
     1040 003                                                       Access and Event Reports                                               SI
     1040 004                                              Access Control Clearance Management                                             SI
     1040 005                                          Vehicle Screening at Perimeter and Garage Posts                                     SI
     1041 001                   Admittance of Law Enforcement Officers/Agents with Firearms into the Capitol Buildings                     SI
     1050 001                                                   Radio Communications System                                                SI
     1052 003                                                      Incident Command System                                                 SI
     1052 004                                          Response Tactics to an Active Shooter Situation                                     SI
     1052 005                                                       Air Threat Response Plan                                               SI
     1053 001                                                          Vehicular Response                                                  SI
     1053 002                                                           Vehicular Pursuits                                                 SI
     1054 001                                                          Building Evacuations                                                SI
     1056 001                                            Utilization of the Hazardous Devices Section                                      SI
     1056 002                      Response Command and Control of a 10-100 NBC or Hazardous Materials Incident                            SI
     1056 003                                         Responding to a Suicide Bomber: 10-100 S (Sam)                                       SI
     1056 004                                      Advanced Law Enforcement Response Team (ALERT)                                          SI
     1057 001                             Utilization of the Containment and Emergency Response Team (CERT)                                SI




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     2011 002                            Handling Classified and Other Sensitive But Unclassified Information                              SI
     2022 001       Privacy Policy for Safeguarding Sensitive Personally Identifiable Information and Sensitive Health Information         SI
     2052 010                                        Identification Cards, Credentials, and Badges                                         SI
     2052 011                                         Staffing of Posts During Inclement Weather                                           SI
     2052 015                                     Office of Inspector General Credentials and Badges                                       SI
     2061 001                                       Recruit Officer Entry-Level Training Program                                           SI
     2075 001                                                 Momentum Security Policy                                                     SI
     2080 003                                                     Segregation of Duties                                                    SI
     2081 002                    Security of Information Generated by Criminal Justice Telecommunications Systems                          SI
     2081 003                                      Office of Information Systems Password Policy                                           SI
     2081 004                                               USCP Internet and Intranet Sites                                               SI
     2081 005                                              Use of USB Data Storage Devices                                                 SI
     2081 006                                            Computer Security Incident Response                                               SI
     2081 007                                                    Account Management                                                        SI
     2081 008                                                      Patch Management                                                        SI
     2081 010                                                      Risk Management                                                         SI
     2081 011                                        Information Security Continuous Monitoring                                            SI
     2081 012                                            Mobile and Wireless Device Security                                               SI
     2081 013                                              Antivirus and Malware Protection                                                SI
     2082 001                                                     Telecommunications                                                       SI
     2083 001                                            Enterprise Architecture and Planning                                              SI
     2083 002                                                 Configuration Management                                                     SI
     2083 003                                                     Change Management                                                        SI
     2083 004                                       Information Systems Auditing and Monitoring                                            SI
     2084 001                                       Use and Operation of Mobile Data Computers                                             SI
     2092 002                                                Respiratory Protection Program                                                SI
     2092 003                              Self-Contained Breathing Apparatus Inspection and Maintenance                                   SI
     2092 004                                       Blood-Borne Pathogen Exposure Control Plan                                             SI
     2093 001                                               Property and Asset Management                                                  SI
     2093 002                                                   Maximo Security Policy                                                     SI




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                                                         -- Rules of Conduct
                                                            Directive#-.              2053.013                               Effective Dote:         11/19/2012
      iz                                                    Initiating Unit:          Office of Professional                 Review Dote:            11/19/2013
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                                                    2
                                                    D                                 Responsibility
                                                            CALEA:                    1.2.7, 11 .3.1, 11 .3.2,
                                                                                      12.1.3, 26.1.1, 26.1.3.,
             IIINGCR£           DDtnrl"S0U9
                                                                                      26.1.4 26.1.5


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35      Rule 819: Response to Calls ..... . ........................ 5
36   Category C-Detrimental Conduct ........ ...... .............. 5                              74   Authority ond Coverage
37      Rule C1 : Conduct Unbecoming ............................ 5
38      Rule C2: Discrimination and/or Harassment ........ 5                                      75 The Chief of Police serves as the chief executive
                                                                                                  76   officer of the United States Capitol Police (USCP) and

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1 is responsible for the day-to-day operation and
2 administration of the USCP.                                       39    Responsibilities/Procedures
3 This policy may be revised at the discretion of the               40    Category A-Duty to Obey
• Chief of Police, consistent with applicable law, rule,
s and regulation.                                                   41    Rule A1: Knowledge of Laws and Regulations

                                                                    42 Employees are required to know and understand all
s    Definition(s)                                                  43    applicable laws, rules, regulations, Directives, orders,
                                                                    44    written procedures, etc., relevant to their official duties.
7    Department Rules. A Department rule is designed to
a cover situations in which no deviation or flexibility is          45 Rule A2: Conformance to laws
 g   permitted.
                                                                    46 Employees will obey all laws of the United States, the
10 Intoxicant. Alcohol, liquor, malt beverages that                 47 Dlstrict of Columbia, and any state, local, or military
11 contain alcohol, drugs or other substances which,                48 jurisdiction in which they may be present. Employees

12   when ingested, inhaled, or absorbed, deprives an               49 arrested or indicted for a violation of any law, other
13   individual of the ordinary use of one's senses or              so than minor non-custodial traffic offenses, or
14   reason.                                                        51 summoned to appear in response to a criminal
                                                                    s2 complaint, will immediately notify one of their
15 Supervisor. An employee in the rank, or civilian                 53 supervisors, who in tum will notify the Chief of Police
16 equivalent, of Sergeant or above, or a designated                54 through the chain of command.
17   supervisor.
                                                                    55 Rule A3: Compliance with Directives


18   General Policy                                                  56
                                                                     57
                                                                       Employees are required to obey all Departmental
                                                                       rules, regulations, Directives, orders, policies and
                                                                    56 procedures. Lawful orders from a supervisor, including
19 The policy of the Department is to ensure that all
                                                                    59 orders relayed from a supervisor by an employee of
20 employees, both sworn and civilian, maintain an
                                                                    60 equal or lesser rank, will be obeyed promptly.
21 exemplary standard of personal integrity and the
22 highest professional standards of conduct in both their
                                                                    61 Rule A4: Conflicting Orders
23 private lives and in their official capacities. This policy
24 is embodied in the Department's Values. The                      62  Should a supervisor Issue an order which conflicts wittl
25 Department will promote adherence to professional                 63 a previously issued order, rule, regulation or Directive,
2s standards of integrity and ethics and foster an                   64 the employee should respectfully call attention to the
27 environment that emphasizes civility and                          65 conflicting order and, if not rescinded by the
28 professionalism.                                                  66 supervisor, the order will stand and will be carried out
                                                                     67 promptly. The responsibility for the order will rest with
29 The Rules contained herein are designed to serve as
                                                                     68 the issuing supervisor and the employee will not be
30 professional standards governing employee conduct.                69 answerable for disobedience of the previously issued
31 Any employee. who is found to be in violation of one or           70 order.
32 more of these Rules, will be subject to such
33 disciplinary action as deemed appropriate by the Chief            71 Rule AS: Improper Orders
34 of Police. The Department will absolve employees who
35 are found not to be in violation of Department rules,             72 Supervisors will not issue any order which they know,
36 administer appropriate corrective action, or defer to the         73 or should know, would require a subordinate to commit
37 approprtate authority for criminal prosecution, if                74 any illegal or unethical acts. Employees will not obey
38 appropriate, when improper acts are confirmed.                    75 any order which they know, or believe, would require
                                                                     76 them to commit illegal or unethical acts. If in doubt as
                                                                     77 to an order being illegal or unethical, employees will
                                                                     78 respectfully request the issuing supervisor to clarify the
                                                                     79 order or to confer with higher authority.



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 1 Rule AS: Insubordination                                        41   Rule B3: Absence from Duty

2 Employees will not refuse to obey, by words or                   42 Employees who fail to appear for duty at the date,
3 actions, any lawful order of a supervisor, and will not          43 time, and place specified without consent of a
4 utter any disrespectful, rebellious, insolent, or abusive        44 supervisor are KAbsent Without Leave".
5 language to or toward a supervisor.
                                                                   45 Rule B4: Reporting for Duty
6 Rule A7: Truthfulness
                                                                   46   Employees will report for duty on time, and at the time
7 Employees will make truthful statements at all times,            47 and place required, or they will be tardy. They will be
8 written or verbal, pertaining to official duties or matters      48 properly equipped and cognizant of information
9    affecting the Department. Employees are required to           49 required for the proper performance of duty so that
10 cooperate fully and truthfully during Department                50   they may immediately assume their duties.
11 investigations.
                                                                   51   Rule BS: Carrying of Credentials and Identification

12   Category 8-Performance of Duty                                52 1.    Sworn employees will carry their Department
13 Rule 81: Unsatisfactory Perfonnance                             53       credentials on their person at all times while on
                                                                   54       duty, and while off duty when carrying the issued
14 Employees will maintain sufficient competency to                55       handgun, except when impractical or dangerous to
15 property perform their duties and assume the                    56       their safety or pursuant to an authorized
16 responsibilities of their positions. Employees will             57       Investigation.
17 perform their duties in a manner which will maintain
18 the highest standards of efficiency and integrity in            58   2 . Civilian employees will carry their identification
19 carrying out the functions and objectives of the
                                                                   59       while on duty, display the ID upon request, and
20 Department. Unsatisfactory performance may be                   60       furnish their name when requested while on duty.
21 demonstrated by. but will not be limited to:
                                                                   61 3. Sworn employees will promptly furnish their name
22   1. A lack of knowledge of the application of laws             62    and Personal Identification Number (PIN) to any
23       required to be enforced.                                  63       person requesting that information when they are
                                                                   64       on duty or while conducting themselves in or
24   2. An unwillingness or inability to perform assigned          65       representing themselves as acting In an official
25       tasks.                                                    66       capacity, except when the withholding of such
                                                                   67       information is necessary for the performance of
26 3. The failure to conform to work standards                     68       duty, authorized by a supervisor, or necessary to
27    established for the respective ranks, grades, or             69       protect the employee's safety or the integrity of an
28       positions.                                                70       authorized investigation.

29 4. The failure to take appropriate action on the                71 4. Employees will not lend their badges, credentials,
30    occasion of a crime, disruption, or other condition          72       or identification to any other person.
31    deserving police attention.
                                                                   73 Rule B6: Malingering
32 5.    Repeated poor evaluations or a written record of
                                                                   74 Employees will not feign illness or injury, falsely report
33       repeated infractions of the rules, regulations,
                                                                   75 themselves or others ill or injured, or otherwise
34       Directives or orders of the Department
                                                                   76 deceive or attempt to deceive any supervisor of the
35 6. Repeated sustained complaints of misconduct.                 77   Department, or any other governmental agency or
                                                                   78 Individual authorized to conduct such an inquiry, as to
36 Rule 82: Personal Appearance                                    79 the condition of their health or the health of others.

37 Employees will maintain a neat, well-groomed                    80
38   appearance and comply with all Department policies
39 pertaining to uniforms, civilian attire, appearance, and
40 grooming.

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 1   Rule B7: Duty Poat                                              46 Rule B12: Operating Vehicles

 2 Employees will assume their assigned duty post                    47 Employees will operate official vehicles in a careful
 3without unnecessary delay. Employees will not leave                48    and prudent manner, and will obey all laws, rules,
4 their assigned duty post during a tour of duty, or at the          49 regulations, Directives and orders of the Department
5 conclusion of their tour of duty, e.xcept when properly            50 pertaining to such operation. The suspension,
6 relieved or authorized by a supervisor, and will then              51    expiration or revocation of an employee's driver's
7 proceed immediately to their next assignment or to the             52 license or operator's permit will be reported
8 area and/or supervisor designated for check out or                 53 immediately to such employee's supervisor.
9 reassignment.
                                                                     54 Rule B13: Use of Force
10   Rule BB: Meals and other Relief Periods
                                                                     55 Sworn employees will use only such force in any
11 Employees will be permitted to suspend patrol or other            56    situation that is reasonably necessary under the
12 assigned activity, subject to immediate recall, for the           57 circumstances, in accordance with applicable laws and
13 purpose of relief or having meals during their tour of            58    the established procedures and training of the
14 duty, but only for such period of time, and at such time          59    Department.
15 and place, as may be established by a supervisor.
                                                                     60 Rule B14: Use of Weapons
16 Rule 89: Courtesy
                                                                    • 51   Sworn employees will not discharge any firearm, nor
17 Employees will be polite, courteous and respectful to             62 use or handle any weapon, in a careless or imprudent
18 all persons at all times. Employees will be tactful,              63 manner. Sworn employees will carry, store, secure
19 friendly, helpful and understanding In the performance            64    and/or use all firearms and weapons in accordance
20 of their assigned duties, control their tempers, exercise         65 with applicable laws and the established procedures of
21 the utmost patience and discretion, and not engage in             66 the Department.
22 argumentative discussion even in the face of extreme
23 provocation. In the perfom,ance of their duties,                  67 Rule 815: Arrest, Search, and Seizure
24 employees will not use coarse, violent, profane, or
25 insolent language or gestures, will not intimidate, and
                                                                     68    Every arrest, search, and seizure will be in accordance
                                                                     69 with applicable laws and the established procedures of
26 will not express any prejudice concerning race,
27 religion, gender1 polittcs, national origin, lifestyle, age,      70 the Department
28 disabilities, or other personal characteristics.
                                                                     71 Rule 816: Treabnent of Persons In Custody
29 Rule 810: Neglect of Duty
                                                                     72    Sworn employees will not mistreat persons who are in
30 Employees will devote their full time and attention to            73    their custody, and will handle persons in custody in
31 the performance of their duties at all times while on             74    accordance with applicable laws and the established
32 duty.                                                             75    procedures of the Department.

33 Rule B11: Use of Property and Services, and Inspection
                                                                     76    Rule B17: Property and Evidence
34 of Equipment and Facllltles
                                                                     77 Property or evidence which has been discovered,
35 Employees will use the equipment, supplies, servfces              78 gathered, or received in connection with the
36 and facilities of or under the care of the Department             79 responsibilities of the Department will be processed in
37 only for their intended purpose, in accordance with               80 accordance with established Department procedures.
38 established procedures, and will not abuse or                     81 Employees will not convert to their own use (or that of
39 purposely damage such equipment or facilities. All                82 another party), manufacture, conceal, falsify, destroy,
40 facilities and equipment of or under the care of the              83 remove, tamper with, or withhold any property or
41   Department and/or issued to employees such as                   84 evidence in connection with an investigation or other
42 desks, vehicles, computers, uniforms, etc., and their             85 police action, except in accordance with established
43 contents, will be maintained in proper order, and are             86 procedures.
44   subject to inspection at any time with or wfthout prior
45 notice, as directed by the Chief or designee.

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                                                                                                        USCP001251
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     ------------------------------- -•Rtfl•IP ►If:■
1    Rule 818: Court Appearances                                 44       influence of any illegal drug, narcotic or stimulant
                                                                 45       or controlled substance, whether or not prescribed
2 Employees who are subpoenaed, summoned, or                     46       by a licensed health care provider, unless
3 otherwise requested to appear and/or testify in a court        47       medically cleared for duty.
4 or hearing of any jurisdiction, in their capacity as a law
5 enforcement officer or in matters pertaining to the            48 Rule C4; Use of Alcohol
6 Department, including any administrative hearing, will
7 immediately notify their supervisor and then comply            49   1. Employees will not use or consume alcohol or
8 with the Directive to appear.                                  50       other Intoxicants while on duty, or when subject to
                                                                 51       emergency recall (such as while on official travel),
9 Rule B19: Response to Calls                                    52       except as permitted by specific orders of a
                                                                 53       Department supervisor.
10   Employees who are assigned radio communications,
11 cell phones, pagers, or other communications                  54 2 . Employees will not report for duty, or be on duty,
12 equipment will keep said equipment turned on and on           55     while impaired or under the influence of an
13 the appropriate channel at all times while on duty or on      56     intoxicant, or with an odor of alcohol or other
14 call, unless authorized by the employee's supervisor to       57     intoxicant on their breath or about their person.
15 do otherwise. Employees will promptly respond to all          56     The odor of an alcoholic beverage on the breath
16 communications directed to them.                              59     (as substantiated by a supervisor and at least one
                                                                 60     other individual) will be considered presumptive
17   Category (-Detrimental Conduct                              61     evidence of drinking while on duty.

16 Rule C1: Conduct Unbecoming                                   62 3.    Sworn employees will not exercise any police
                                                                 63       authority, operate any USCP-lssued mode of
19 Employees will conduct themselves at all times, both          64       transportation, take any official police action, or
20 on and off duty, in such a manner as to reflect               65       represent themselves as a police officer while
21 favorably on the Department Conduct Unbecoming                66       impaired by, or under the influence of, alcohol or
22 will include that which brings the Department lnto            67       other intoxicants.
23 disrepute or reflects discredit upon the employee as a
24 member of the Department impairs the operation or             68 4. Sworn employees will not consume alcohol or
25 efficiency of the Department or the employee; and is          69    other intoxicants while carrying a firearm.
26 prejudicial to the reputation and good order of the
27 Department                                                    10   5. When off-duty, employees will not wear in public
                                                                 71       any clothing items identifiable with the USCP
28 Rule C2: Discrimination and/or Harassment
                                                                 72       when consuming alcohol or other intoxicants. This
                                                                 73       includes but is not limited to, USCP caps, t-shirts,
29 Employees will not discriminate against and/or harass
                                                                 74       Jackets, uniform shirts, etc.
30 any other person on the basis of race, color, national
31 origin, relig!on, gender, age, sexual orientation,
                                                                 75 6. When off duty, employees will refrain from
32 disability, or any other basis prohibited by law or
                                                                 76    consuming alcohol or other Intoxicants to the
33 Departmental Directive.
                                                                 11       extent that it results in behavior which may
34 Rule Cl: Possession and/or Use of Drug, or a
                                                                 78       discredit the Department, renders the employee
35 Controlled Substance                                          79       unfit to report for the next assigned or regular tour
                                                                 80       of duty, or adversely affects the employee's work
36 1. Employees will not possess or use any narcotic.            81       performance or the safety of the employee and/or
37    Illegal stimulant, or other controlled substance           62       others.
38       except when prescribed for their personal
39       treatment by a licensed health care provider            83   Rule CS: Use orTobacco
40       authorized to dispense a controlled substance
41       during the course of professional practice.             84   Employees will use tobacco only In accordance with
                                                                 85 the policies of the Department.
42   2. Employees will not report for duty, be on duty, or
43      when subject to emergency recall, while under the

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          1




1 Rule C6: Gifts, Gratuities, Bribes, or Rewards                   43 internal or external, criminal or administrative
                                                                   44    Investigation.
2  Employees will not solicit or accept from any person,
 3 business, or organization, any gift (including money,
 4 tangible or intangible personal property, food,
                                                                   45    Category D-Administrative Responsibilities
 s beverage, loan, promise, service, or entertainment) for         46 Rule 01 : Off-Duty Employment
 s the benefit of any employee or any other person,
 7 which may give the appearance that such solicitation            47 Employees may engage in off-duty employment only In
 8 or acceptance Is in return for being influenced in the          48    accordance with established Department policies and
 9 performance of any official act, or being induced to do         49    procedures.
10 or omit to do any act in violation of their duty.
                                                                   50 Rule 02: Telephone
11 Rule C7: Improper Associations
                                                                   51 Employees will have and maintain in operation a
12 Employees will avoid regular or continuous                      52 working telephone number through which they may be
13 associations or dealings with persons whom they                 53 direcUy contacted by the Department at all times.
14 know, or should know, are persons under criminal                54    Employees will inform the Department of their
15 investigation or indictment, or who have a reputation in        55 telephone number. and will immediately report any
16 the community or the Department for present                     56 change of telephone number in accordance with
17 involvement in felonious or criminal behavior, except           57 established procedures.
18 as necessary in the performance of official duties, or
19 where unavoidable because of immediate familial                 58 Rule 03: Changes In Personal Status
20 relationships.
                                                                   59 Employees will report any change in personal status,
21 Rule CB: Gambling                                               60    including residence address or next of kin notification.
                                                                   61    in accordance with established procedures.
22 Employees wi!I not engage or participate in any form of
23 illegal gambling at any time, except In the performance         62    Category E-Miscellaneous
24 of duty and while acting under proper authorization
25 from a supervisor.                                              63 Rule E1: Abuse of Process

26 Rule C9: Communications with Criminals •                         64 Employees will not intentionally manufacture, tamper
                                                                    65 with, falsify, destroy, or withhold evidence or
27 Employees will not communicate verbally or in writing,
                                                                    66 information, nor make any false accusations,
28 directly or indirectly, in any manner or form, any               67 statements or complaints regarding a criminal charge,
29 information that may enable persons engaged in,                  68 traffic offense, or administrative violation.
30 suspected of, or guilty of, criminal acts to escape
31 arrest or punishment. or which may permit them to                69 Rule E2: Improper Intervention
32 dispose of or conceal any money, goods, or other
33 evidence unlawfully obtained or possessed.                       70 Employees will not interfere with official business
                                                                    71 being handled by other employees or any other
34 Rule C10: Improper Remarks                                       72 government agency unless ordered to intervene by a
                                                                    73 supervisor, or the intervening employee reasonably
35 Employees will not make malicious, harassing,
                                                                    74 believes that a manifest injustice would result from
36 untruthful, or frivolous remarks or rumors against, or           75 failure to take immediate action. Employees will not
37 about, other members of the Department or individuals            76 undertake any investigation or other official action not
38   In the workplace.                                              77 part of their regular duties without obtaining permission
                                                                    78 from competent authority unless the exigencies of the
39 Rule C11: RetallaUon
                                                                    79 situation require immediate action.
40 Employees wfll not harass, ridicule or retaliate in any
                                                                    80
41 form against a complainant, employee, or any witness
42 for complaining or otherwise offering evidence in an



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1 Rule E3: Work Stoppage                                            45 Rule E7: TesUmonlals

2 Employees will not engage in any work stoppage. This              46 Employees will not permit their names or photographs
3 includes the concerted failure to report for duty, willful        47 indicating their association with the United States
4 absence from one's position, unauthorized holidays, or            48 Capitol Police to be used in any commercial, politicat
5 the abandonment in whole or in part of the full, faithful,        49 or other testimonial which alludes to their position or
6 and proper performance of the duties of employment                50 employment without the approval of the Chief of
7 for the purpose of protesting, inducing, influencing, or          51 Police.
8 coercing change in conditions, compensation, rights,
9 privileges, or ob1igations of employment.                         52 Rule ES: Service of Civil Processes

10 Rule E4: Dissemination of lnformatJon                            53 Sworn employees will not serve civil processes or take
                                                                    54 part in any such service.
11 Employees will treat the official business of the
12 Department as restricted, and are prohibited from                55 Rule E9: Reports
13 disseminating information concerning Department
14 investigations or operations to any unauthorized
                                                                    56 Employees will submit all necessary reports In
                                                                    57 accordance with established Department procedures.
15 person, in accordance with established Department
16 procedures. Employees are prohibited from providing
                                                                    58 Reports will be truthful, accurate, complete and timely.
17 information obtained from the Criminal Justice
                                                                    59 Rule E10: Compromises
18 Information System (CJIS), Motor Vehicie
19 Administration (MVA), Washington Area Law                        60   Employees are prohibited from becoming involved, in
20 Enforcement System {WALES), National Crime                       61 any way, in an attempt to make a compromise or
21 Information Center (NCIC), or any other source to any            62 arrangement between suspected criminal violators and
22 unauthorized person, except in the performance of                63 their alleged victims.
23 their duties and in accordance with proper procedures
24 and law.
                                                                    64   Category F-Supervisors
25 Rule E5: Public Statements
                                                                    65 Rule F1: Subordinate Compliance

26 Employees will not publicly criticize or ridicule the
                                                                    66 Supervisors will be responsible for subordinates'
27 Departmen~ its policies, or other empfoyees by
                                                                    67 adherence to Department rules, regulations, policies,
28 speech, writing, or other expression, where such
                                                                    68 procedures, orders and Directives, and wfll take
29 speech, writing, or other expression is unlawful,
                                                                    69 reasonable action to ensure compliance.
30 violates Department policies regarding the
31 dissemination of sensitive and/or confidential                   70 Rule F2: Subordinate Discipline
32 information, or is made with reckless disregard for
33 truth.                                                           71   Supervisors will be responsible and accountable for
                                                                    72   the maintenance of discipline and will provide
34 Rule E6: Public Appearances
                                                                    73   leadership, supervision and example to ensure the
                                                                    74   efficiency and integrity of Department operations.
35 Employees will not purport to represent the
36 Department by addressing public gatherings,                      75 Rule F3: Subordinate Perfonnance
37 appearing on radio or television, lecturing on · 1aw
38 enforcement" or other related subjects, preparing any            76 Supervisors will be responsible for the job
39 articles for print or electronic publication, acting as a        77   performance of all subordinates placed under them.
40 correspondent to a newspaper, periodical or electronic           78 Authority and functions may be delegated to
41 media, releasing or divulging investigative information          79 subordinates, but responsibility for the
42 or any other material regarding matters of the                   80 accomplishment of overall Department objectives
43   Department without prior approval from the Chief of            81   remains with the supervisor who made the
44   Police.                                                        82   assignment.




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 1 Rule F4: Subordinate Failures

 2Supervisors will be responsfble and held accountable
 3for all job-related failures on the part of their
4 subordinates when the supervisor was aware, or
s should reasonably have been aware, of the failure or
6 potential for failure, and did not take the appropriate
7 action to correct or prevent the deficiency.



 a   Additional Information
 9   Exemptions
10 In certain instances, the Chief of Police may exempt
11 individuals or units from complying with specific rules
12 contained in this Directive. Such exemptions will be
13 made on a case-by-case basis in recognition of
14 individual or unit requirements for the performance of
1s their duties.



1s   Cancellation
17   This Directive cancels Operational Directive PRF 1.3,
,e "Rules of Conduct." issued August 23, 2000, and
19 supersedes and replaces any related Department
20   publication consistent with applicable law, rule, or
21   regulation.


22   Appendices
23 None.




24
                    ~?~
                     Thomas P. Reynolds
25                   Acting Chief of Police




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       Publication of MPD Orders on the
                    Internet




                         Recommendation of the

                     Police Complaints Board
                                    to

                 Mayor Anthony A. Williams,
          The Council of the District of Columbia, and
              Chief of Police Charles H. Ramsey
                              July 14, 2005

                       Police Complaints Board

                      Maria-Cristina Fernández, Chair
                            Dr. Patricia Fisher
                         Michael Sainte-Andress
                              Marc Schindler

                      730 11th Street, N.W., Suite 500
                         Washington D.C. 20001
                              (202) 727-3838
                      Website: policecomplaints.dc.gov



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   I.         INTRODUCTION

           The Metropolitan Police Department (MPD) uses a “directive system” to issue
   departmental policies, procedures, and other information. The components of the system
   include MPD’s general orders (GO) and special orders (SO). These orders set forth
   policies and procedures regarding a wide range of MPD activities, many of which involve
   encounters with citizens, from “Conduct Toward the Public” (GO 201.26, Part I, Section
   C) to requirements for officers conducting stops of individuals and frisking them (GO
   304.10). Currently, MPD’s general and special orders are not available to the public,
   except through Freedom of Information Act (FOIA) requests. The Department’s website
   does not contain the orders. The Police Complaints Board (PCB), consistent with its
   policy review function,1 recommends that MPD post all of its orders, and a corresponding
   index, on the MPD website.

   II.        BEST PRACTICES

           MPD would not be the first department to make its policies and guidelines fully
   available to the public. In 2001, the Seattle Police Department Office of Professional
   Accountability (OPA) recommended that the Seattle Police Department (SPD) publish its
   entire department manual on the World Wide Web. Chief Gil Kerlikowske of the SPD
   “readily agreed and directed the posting.”2

           As a result of that decision, SPD was praised by an expert in police
   accountability, Professor Samuel Walker of the University of Nebraska at Omaha. In The
   New World of Police Accountability, Professor Walker recognized SPD for bucking the
   traditional “attitude of secrecy” that “not only denies to the public basic information
   about official police policies, but aggravates community relations by sending a message
   to people that they have no right to know how the department operates.”3 Some major
   cities whose police departments have made their policies and procedures available online
   include the following:

              x   Seattle, WA4


   1
     PCB “shall, where appropriate, make recommendations to [the Mayor, the Council, and the Chief of
   MPD] concerning those elements of management of the MPD affecting the incidence of police misconduct,
   such as the recruitment, training, evaluation, discipline, and supervision of police officers.” D.C. Official
   Code § 5-1104(d). PCB would like to acknowledge the assistance of the Office of Police Complaints
   (OPC), which is overseen by PCB, in preparing this recommendation under the guidance of the agency’s
   executive director, Philip K. Eure, and deputy director, Thomas E. Sharp. OPC’s summer law clerk,
   Thomas Moir, who is enrolled at the George Washington University Law School, performed research and
   provided other valuable assistance.
   2
    Seattle Police Department Office of Professional Accountability, OPA’s Role in Policy Review and Risk
   Management at SPD 8 n.4 (2004). Available at http://www.ci.seattle.wa.us/police/opa/Default.htm.
   3
        Samuel Walker, The New World of Police Accountability 190 (2004).
   4
        The Seattle Police Department’s orders are available at: http://www.cityofseattle.net/police/publications/.


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             x   Minneapolis, MN5
             x   Denver, CO6
             x   Colorado Springs, CO7
             x   Cincinnati, OH8
             x   Portland, OR9

            OPA has seen tangible benefits from SPD’s publication of its manual on the
   Internet. Media inquiries into police conduct have been more informed, as have
   community interactions with OPA, because the public and news outlets can develop a
   better sense of how the department operates prior to contacting OPA or SPD. When the
   situation allows, OPA can direct citizens to the website for examination of relevant
   policies at their convenience. Community outreach is made more meaningful by the
   ability to reference the publicly available manual.10

            MPD’s orders are not restricted documents; any citizen can request copies of
   most, if not all, orders under the auspices of FOIA.11 Routing such requests through
   FOIA, however, creates extra paperwork, adds unnecessary cost and labor, and decreases
   the likelihood that citizens will inquire into the policies of their police department when,
   in fact, they have every right to do so. Posting the orders on MPD’s website would
   eliminate the FOIA “middleman,” allowing citizens to review MPD policies that affect
   their encounters with police officers, such as stop-and-frisk procedures (GO 304.10), the
   taking of traffic accident (GO 401.03) and missing persons (GO 304.03) reports, issuing
   traffic tickets (GO 303.1), traffic enforcement (GO 303.1), use of oleoresin capsicum or


   5
      The Minneapolis Police Department’s orders are available at:
   http://www.ci.minneapolis mn.us/mpdpolicy.
   6
      The Denver Police Department’s orders are available at:
   http://198.202.202.66/Police/template311677.asp.
   7
      The Colorado Springs Police Department’s orders are available at:
   http://www.springsgov.com/Page.asp?NavID=1472.
   8
     The Cincinnati Police Department’s orders are available at: http://www.cincinnati-oh.gov/police/pages/-
   5109-/.
   9
      The Portland Police Bureau’s orders are available at:
   http://www.portlandonline.com/police/index.cfm?c=29867. Other notable cities include Olympia, WA,
   and Iowa City, IA.
   10
        Conversation with Sam Pailca, director of OPA, June 21, 2005.
   11
       The orders are also available for sale from Laborcops.com, a “professional organization of attorneys
   and labor consultants who are experienced in representing law enforcement unions,” at
   http://www.laborcops.com. PCB believes that the public should not have to seek out and pay a third party
   for access to police policies that could be posted on the Internet at virtually no cost to the government.


                                                        2
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   “pepper” spray (GO 901.04), and the processing of persons with mental illness (GO
   308.4).

           The publication of the orders on the Department’s website would also be
   consistent with MPD’s goal to ensure the online availability of the orders to its own
   employees. As PCB understands it, MPD is currently in the process of revising and
   updating the Department’s orders and directives, which MPD then intends to make
   available online to its employees. PCB further understands that MPD first wants to make
   the materials available online to its own employees before considering public access on
   the Internet. As far back as 1998, a special committee of the Council of the District of
   Columbia had recommended that MPD “investigate the possibility of making the General
   Orders accessible by mobile digital computer. The current three-volume set of the
   General Orders is much too bulky to be of any use to the officer in the field. By placing
   the General Orders online, officers can take advantage of their guidance as the need
   arises.”12 While the fulfillment of MPD’s goal to allow employees to have online access
   to the Department’s directives will be an important step forward, PCB cannot think of
   any legitimate reason why citizens and police officers alike should not have the same
   online access to these materials right from the start, given the benefits to both groups.

           The publication of the orders on the Department’s website would also provide a
   showcase for MPD’s development of model use-of-force policies and other “best
   practices” policies. Because of the increasing use of the Internet, other police
   departments would be able to improve their own policies by considering those of MPD,
   and vice-versa should other departments follow suit by also publishing their directives
   online. The result would be to promote best practices and greater accountability in law
   enforcement within the District and beyond.

   III.    RECOMMENDATION

           PCB recommends that MPD publish its orders and directives, including an index,
   on the MPD website. Publication of the orders in a conspicuous manner would signal
   that MPD respects and values the community’s interest in a cooperative, mutually-
   beneficial relationship between citizens and police. MPD has already taken important
   steps toward openness on its website, which contains information about how citizens can
   file complaints against the police, including a link to OPC’s website, helpful information
   on a wide range of MPD programs, and a comprehensive “newsroom.” PCB believes
   that MPD should extend that openness by making its orders and directives more
   accessible to the public.




   12
      Council of the District of Columbia, Report of the Special Committee on Police Misconduct and
   Personnel Management of the Council of the District of Columbia 35 (1998).


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       STATEMENT OF INSPECTOR GENERAL MICHAEL A. BOLTON
                 UNITED STATES CAPITOL POLICE
                 OFFICE OF INSPECTOR GENERAL


                           Committee on House Administration
                          United States House of Representatives
                                      April 15, 2021


       Good afternoon, my name is Michael A. Bolton. I am the Inspector General for the
United States Capitol Police (USCP or Department). I have been with the Inspector General’s
office since 2006. In January 2019, the Capitol Police Board appointed me as the Inspector
General. Thank you for this opportunity to appear before you, the Committee on House
Administration, to discuss our Review of Events in regards to USCP’s Departmental Operation,
Programs and Policies that were in effect during January 6, 2021.


       I would like to extend my appreciation to the Committee for holding this hearing. This
hearing is different in many ways. I am addressing not only Committee members exercising their
Constitutional Role of Oversight, but I am testifying to witnesses, as well as, survivors who are
affected by the events of January 6, 2021. On January 6, 2021, a physical security breach of the
U.S. Capitol Building occurred during a Joint Session of Congress to certify the Electoral
College vote. My goal is to provide each of you with a better understanding of how the events of
January 6, 2021 occurred in relation to the preparation and response of the Department. Other
factors were involved and other entities are reviewing those aspects outside of USCP. I will
discuss the non-law enforcement sensitive findings detailed in my two “Flash Reports.” I would
be happy to answer any law enforcement sensitive questions in a “closed door” setting.


       Shortly after the events of January 6th, I notified the Department, Board and the
Committees that my office would be suspending all future projects listed in the Office of
Inspector General (OIG) Annual Plan for 2021 to allow my entire staff to conduct a full review
of these events. In order to accomplish this goal, both OIG Audit and Investigations, would
combine their collective talents to achieve a complete review of the Department. In addition to


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my staff, I brought on two additional contractors with the expertise and knowledge to assist my
Office. A retired Deputy Assistant Director for the United States Secret Service and a retired
Senior Special Agent Chief of the Federal Bureau of Investigation (FBI).


       We did not design or intend our reports to cast blame on any one individual or group.
OIG intends these reports to be an independent objective review of the Department’s programs
and operations to better protect the Capitol Complex, members, staff, visitors, and the rank and
file officers, who have shown their commitment and bravery each and every day by keeping all
safe. USCP must undertake a collective effort, to ensure that each and every officer, when their
shift is over, gets to go home to their families. As well as the safety of those who work and visit
the first branch of government.


      In accordance with our statutory authority Public Law (P.L.) 109-55, the USCP Office of
Inspector General began a review of the operations and programs that were in place prior to and
during the takeover of the U.S. Capitol on January 6, 2021. Our objective, for this review, is to
determine if the Department (1) established adequate measures for ensuring the safety and
security of Members of Congress, their Staff and the Capitol Complex, (2) established adequate
internal controls and processes that complied with Department policies and procedures and, (3)
complied with applicable laws and regulations. The scope included reviewing the controls,
processes, and operations surrounding the security measures prior to the planned demonstrations
and the response during the takeover of the Capitol building. We made our recommendations by
conducting interviews, document reviews, the combined knowledge and expertise of my staff
and following best practices throughout the Federal Government of those relevant agencies with
similar functions of the Department.


        We are currently providing the Department, Board and Committees, a series of flash
reports every 30 days. We are reviewing selected elements within the Department, noting any
areas for improvement. We are providing any corresponding recommendations to compel the
Department to move towards a Protective Agency as opposed to a Police Agency. At the time of
this hearing, my office has completed two flash reports. The first report was a review of
operational planning for January 6th including a review of the Intelligence gathering process

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required for the operational plan that related to January 6th. Our second flash report focused on
the Civil Disturbance Unit (CDU) and the Department’s intelligence operations as a whole. OIG
will issue our third flas report on April 30th, which will be focusing on threat assessment and the
counter-surveillance unit. We anticipated our comprehensive Review would extend for the
remainder of FY 2021. Other areas of our reviews will include, but will not be limited to:
Reviews of Containment Emergency Response Team (CERT), which in previous testimony was
referred to as SWAT. That term is inaccurate in that SWAT is a Police term as opposed to a
Protective function or tactical team supporting the Departments mandate to protect the Capitol
Complex, Members, staff and visitors. Additional reviews will include Manpower usage
(communication, makeup and structure of the command staff), Training, Security Services
Bureau, K-9. Essentially every element or component that played a major role in the events of
January 6th.


       As our work continues, my office sees continuing areas in our findings that USCP needs
address. Those areas are Intelligence, Training, Operational Planning, and culture change. In
regards to culture change, we see that the Department needs to move away from the thought
process as a traditional Police Department and move to the posture as a Protective Agency. A
police department is a reactive force. A crime is committed; police respond and make an arrest.
Whereas, a Protective Agency is postured to being proactive to prevent events such as January
6th.


       OIG designed our first flash report to communicate any deficiencies with the
Department’s operational planning and intelligence for planned demonstrations on January 6,
2021. The deficiencies included the following (a) lack of a comprehensive operational plan or
adequate guidance for operational planning, (b) failure to disseminate relevant information
obtained from outside sources, (c) lack of consensus on the interpretation of threat analyses,
(d)dissemination of conflicting intelligence, and (e) lack of security clearances.


       In order to improve its operational planning capabilities, USCP should implement
detailed guidance for operational planning. The guidance should include policies and procedures
that designate the entity or entities responsible for overseeing the operational planning and

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execution process, require documentation of supervisory review and approval, and standardize
planning document formats. All Department employees should be required to obtain and
maintain a security clearance as a condition of employment. Guidance should also require that
individual units develop plans and coordinate those plans with other units for a comprehensive,
Department-wide effort. Additionally, the guidance should communicate when specific
operational planning documents are required. For, example the Department could use a multi-
tiered system based on the anticipated size and scope of an event as criteria for determining the
required level of operational planning documentation it needs to prepare.


       Implementing formal guidance requiring that employees communicate any intelligence
reports and concerns from external sources to appropriate commanders would improve USCP
ability to effectively disseminate intelligence throughout the Department. Providing additional
training to personnel on how to better understand intelligence assessments and an increased role
for Department entities that have intelligence analysis and dissemination responsibilities in
operational planning would also improve USCP ability to achieve a consensus on threat analyses.
Furthermore, the Department should require supervisory review and approval for intelligence
products to ensure the Department supports products with relevant intelligence information and
ensures internal consistency. Lastly, receiving classified briefings on emerging threats and
tactics would better prepare the Department’s sworn and operational civilian employees to
identify and counter threats and tactics in the field.


       The Department lacked adequate guidance for operational planning. USCP did not have
policies and procedures in place that communicated which personnel were responsible for
operational planning, what type of operational planning documents its personnel should prepare,
nor when its personnel should prepare operational planning documents. Additionally, USCP
lacked guidance requiring that its various entities coordinate their planning efforts into a
comprehensive plan.


       Interviews with Department officials revealed inconsistencies in the types of planning
documents USCP should have prepared for January 6, 2021. Former Chief of Police Steven
Sund stated the Department used documents commonly referred to as a “Plan of Action” for

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large events and that such a Plan of Action signed by an Assistant Chief should have existed for
the events of January 6, 2021. Former Chief Sund also stated that the Commander of the
Uniformed Services Bureau’s Capitol Division should have completed an “Incident Action Plan”
for the Joint Session of Congress. Former Chief Sund stated that he believed there were
Department policies addressing those planning documents. However, we could not find any
policies that clearly addressed creation of those specific planning documents.


       According to the Operational Services Bureau (OSB) official responsible for preparing
the CDU Plan, prior to the summer of 2020 there were no formal planning documents for CDU
events. After protest activity during the summer of 2020, OSB began utilizing a planning
document from the International Association of Chiefs of Police as a guide for creating such a
plan. The official stated that OSB forwards a CDU Operational Plan by email to an Assistant
Chief for approval and OSB receives a confirmation with no correspondence log or other
documented approval. Certain CDU commanders provide input to the plan but OSB does not
distribute the plan to any other Department commanders. Several Department officials stated that
they were not familiar with the CDU Operational Plan for January 6, 2021.


       USCP failed to disseminate relevant information obtained from outside sources, lacked
consensus on the interpretation of threat analyses, and disseminated conflicting intelligence
information regarding planned events for January 6, 2021. Additionally, the Department did not
require that all of its sworn and operational civilian employees obtain security clearances.


       USCP failed to disseminate relevant information obtained from outside sources regarding
planned events for January 6, 2021. According to the Department’s timeline, on January 5,
2021, at approximately 7 p.m. to 8 p.m., a USCP task force agent embedded with the FBI
emailed the Intelligence Operations Section (IOS) a memorandum from the FBI Norfolk
Division providing additional details regarding the January 6, 2021, event.


       The Acting Assistant Chief of Police for Protective and Intelligence Operations stated
that the memorandum was a “Situational Information Report,” which he viewed differently than
an Intelligence Assessment because Situational Information Reports are not necessarily

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authenticated or followed-up; the FBI produces them to communicate something its agents saw
or learned. The Acting Assistant Chief acknowledged it was hard to view it that way after
January 6, 2021. The Acting Assistant Chief also stated that to his knowledge the FBI never
formally sent the memorandum to USCP. The FBI Norfolk Division produced the document,
and placed it on an FBI intranet or other internal system. Late in the evening on January 5, 2021,
a USCP task force officer (TFO) assigned to the FBI Guardian Squad Task Force pulled the
memorandum from the FBI system and emailed it to a USCP IOS email distribution list.


       According to an Acting Assistant Chief, the memorandum did not surface again until the
Intelligence and Interagency Coordination Division (IICD) attached it to an information package
sent out late on January 6, 2021, after the security breach occurred. In the days following
January 6, 2021, the memorandum began to surface in the media and Members of Congress
began to ask USCP if it had received it. The Department was originally under the impression
that it had not received the document until a Department official inquired with USCP’s TFOs
about it. An Acting Assistant Chief stated that to his knowledge, prior to the events of January 6,
2021, the memorandum did not make it out of the IOS email distribution list to IICD or other
Department commanders. In their statements to OIG, former Chief Sund, Acting Chief Pittman
and the Director of IICD stated they did not see the FBI bulletin prior to January 6th.


       According to an Acting Assistant Chief, after January 6, 2021, the FBI produced a similar
situational report about a threat to the State of the Union, but USCP received that report through
its formal channels with the Joint Terrorism Task Force executive board, which includes the
Acting Assistant Chief and Acting Chief Pittman. As of February 11, 2021, PSB requires that all
reports or concerns must be sent to the Investigations Division as well as IICD Commanders—
which was not required or always happening before January 6, 2021. Implementing formal
guidance requiring that employees communicate any intelligence reports and concerns from
external sources to appropriate commanders would significantly improve the ability of USCP to
effectively disseminate intelligence throughout the Department.


       Interviews with USCP officials revealed a lack of consensus about whether intelligence
information regarding planned events on January 6, 2021, actually indicated specific known

                                                 6

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threats to the Joint Session of Congress. Certain officials believed USCP intelligence products
indicated there may be threats but did not identify anything specific, while other officials
believed it would be inaccurate to state that there were no known specific threats to the Joint
Session based on those same USCP intelligence products.


       The threat analysis in the CDU Operational Plan for January 6, 2021, dated January 5,
2021, states, “At this time there are no specific known threats related to the Joint Session of
Congress – Electoral College Vote Certification.” While a prior version of Special Event
Assessment 21-A-0468, dated December 16, 2020, contains the exact same statement and
updated versions of the assessment published later that month contain similar language, the final
version dated January 3, 2021, does not contain that statement. The IICD Director stated that
IICD periodically revised the assessment as it received more information, and IICD updated the
final version based on concerns communicated by the Department’s law enforcement partners.
An OSB official responsible for preparing the CDU Operational Plan dated January 5, 2021,
admitted it was most likely an error on their part that the Department did not update the threat
analysis in the plan. However, multiple Department officials with intelligence dissemination
responsibilities stated they had never even seen the threat analysis included in the CDU
Operational Plan dated January 5, 2021.


       Providing additional training to personnel on how to better understand and interpret
intelligence assessments and requiring that any threat analyses included in operational planning
are coordinated with Department entities with intelligence analysis and dissemination
responsibilities would improve USCP ability to achieve a consensus on its threat analyses.


       Our second flash report communicated deficiencies with the Department’s CDU and
intelligence operations. As part of our review, OIG also conducted a follow-up analysis of the
Department’s implementation of recommendations contained in Follow-up Analysis of the
United States Capitol Police Intelligence Analysis Division, Investigative Number 2018-I-0008,
dated March 2019, to confirm the Department took the corrective actions in implementing the
recommendations.



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        USCP did not have adequate policies and procedures for CDU defining its
responsibilities, duties, composition, equipment, and training. CDU was operating at a
decreased level of readiness because of a lack of standards for equipment, deficiencies noted
from the events of January 6, 2021, a lapse in certain certifications, an inaccurate CDU roster,
staffing concerns for the unit, a lack of properly performed quarterly audits, and property
inventories not in compliance with guidance.


        The Department should implement detailed policies and procedures that address several
aspects of CDU and its operations. Implementation of the Department’s formal training
guidance, requirements, and lesson plans is crucial to its mission. Formalizing and implementing
equipment standards will provide officers with proper functioning equipment. Additionally, the
Department should require that all types of weapon systems classified as less lethal are staged
prior to large events as well as ensure that the Department train and certify additional CDU
Grenadiers1.


        Ensuring that the Department conducts periodic safety inspections would prevent CDU
from deploying or using expired munitions. Also, the Department needs a formal process for
management within CDU to ensure that when munitions do expire CDU exchanges them
appropriately with the Property and Asset Management Division for proper disposal in a timely
manner. Further, USCP should store its riot shields in the proper temperature-stable climate to
prevent compromise of the riot shield’s life span.


        USCP Directive 2055.001, Specialty Pay Program, effective August 1, 2019, states that
“the Chief of Police is authorized to establish and determine positions within the USCP as
specialty assignments or requiring certain proficiencies eligible for additional compensation.”
The Department has and continues to experience difficulty in recruiting and retaining officers in
serving in the CDU Unit. Exploring options for incentivizing the CDU Program would go a long
way toward increasing participation because of its hazardous nature. As well, holding
management accountable for incomplete CDU audits would enforce controls.


1
 A Grenadier is an officer trained and qualified in the use of Department issued less-lethal weapons. Grenadiers
deploy less-lethal weapons in support of CDU operations.

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       Based on our follow-up analysis, a condition identified in two previous reports, the
Department’s failure to update and document evaluations of its intelligence priorities reemerged.
We also identified intelligence related deficiencies with the Department’s organizational
structure, training, professional standards, internal controls, and capability to effectively collect,
process, and disseminate intelligence information.


       To increase the efficiency of its intelligence resources, the Department should consider
reorganizing its intelligence functions into a single intelligence bureau. A formal Intelligence
Training Program is necessary; otherwise, the Department cannot ensure the proper training of
its intelligence employees or ensure that they are up to date on policies and procedures related to
IICD personnel duties. Furthermore, implementing additional formal guidance that applies to
USCP’s collection, processing, and reporting of information would improve its ability to
effectively disseminate intelligence throughout the Department. Lastly, the Department should
address gaps in meeting the intelligence needs of its operational stakeholders; the lack of
training, certification, or professional standards for its intelligence analysts; and determine the
necessary staffing, security clearances, and technology IICD needs to accomplish its mission.


       In conclusion, the Department is comprised of extraordinary men and women who are
dedicated to protecting our democracy, putting their own lives in harm’s way in order for
Congress to exercise their Constitutional duties in a safe and open manner. It is our duty to
honor those officers who have given their lives but also ensuring the safety of all those working
and visiting the Capitol Complex by making hard changes within the Department.


       Thank you for the opportunity to appear before you today. I would be very happy to
answer any questions the Committee may have at this time.




                                                   9

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          UNITED STATES CAPITOL POLICE
          OFFICE OF INSPECTOR GENERAL
           Review of the Events Surrounding the
        January 6, 2021, Takeover of the U.S. Capitol

  Flash Report: Operational Planning and Intelligence

                       Investigative Number 2021-1-0003-A

                                      February 2021

                      Report Restriction Language

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                                                 EXECUTIVE SUMMARY


On January 6, 2021, a physical breach of U.S. Capitol Building security occurred during a Joint
Session of Congress to certify the Electoral College vote. See Appendix A for the United States
Capitol Police's (USCP or Department) official timeline of events leading up to and during the
physical security breach.

In accordance with our statutory authority Public Law (P.L.) 109-55, the USCP Office of
Inspector General (010) began a review of the events surrounding the takeover of the U.S.
Capitol on January 6, 2021. Our objectives for this review were to determine if the Department
(1) established adequate measures for ensuring the safety and security of the Capitol Complex as
well as Members of Congress, (2) established adequate internal controls and processes for
ensuring compliance with Department policies, and (3) complied with applicable policies and
procedures as well as applicable laws and regulations. The scope included controls, processes,
and operations surrounding the security measures prior to the planned demonstrations and
response during the takeover of the Capitol building.

Based on this ongoing work, this flash report is designed to communicate any deficiencies with
the Department's operational planning and intelligence for planned demonstrations on January 6,
2021. The deficiencies included the following (a) lack of a comprehensive operational plan or
adequate guidance for operational planning, (b) failure to disseminate relevant information
obtained from outside sources, (c) lack of consensus on the interpretation of threat analyses,
(d) dissemination of conflicting intelligence, and (e) lack of security clearances.

In order to improve its operational planning capabilities, USCP should implement detailed
guidance for operational planning. The guidance should include policies and procedures that
designate the entity or entities responsible for overseeing the operational planning and execution
process, require documentation of supervisory review and approval, and standardize planning
document formats. Guidance should also require that individual units develop plans and
coordinate those plans with other units for a comprehensive, Department-wide effort.
AdditionalJy, the guidance should communicate when specific operational planning documents
are required. For, example the Department could use a multi-tiered system based on the
anticipated size and scope of an event as criteria for determining the required level of operational
planning documentation it needs to prepare.

Implementing formal guidance requiring that employees communicate any intelligence reports
and concerns from external sources to appropriate commanders would improve USCP ability to
effectively disseminate intelligence throughout the Department. Providing additional training to
personnel on how to better understand intelligence assessments and an increased role for

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Review ofthe Eveni:s S11rroundlng the January 6. 2021, Tauover ofInt! U.S. Capitol                2021-l•0OOJ•A. Ftbr11ary 2021


                                           LAW ENFORCEMENT SENSITIVE

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Department entities that have intelligence analysis and dissemination responsibilities in
operational planning would also improve USCP ability to achieve a consensus on threat analyses.
Furthennore, the Department should require supervisory review and approval for intelligence
products to ensure the products are supported by relevant intelligence infonnation and are
internally consistent. Lastly, receiving classified briefings on emerging threats and tactics would
better prepare the Department's sworn and operational civilian employees to identify and counter
threats and tactics in the field. See Appendix B for a complete list of recommendations.

This is the first in a series of flash reports OIG will produce as part of its ongoing review of the
events surrounding the takeover of the U.S. Capitol on January 6, 2021. Therefore, we may still
perform additional, in-depth work related to those areas during our review. We anticipate that
our next flash report will focus on the Department's intelligence operations and Civil
Disturbance Unit.

                                                          BACKGROUND
On January 6, 2021, a physical breach of U.S. Capitol security occurred during a Joint Session of
Congress to certify the Electoral College vote. See Appendix A for the United States Capitol
Police's (USCP or Department) official timeline of events leading up to and during the physical
security breach.

The Department's Protective Services Bureau (PSB) and Security Services Bureau are the two
operational bureaus that report to the Assistant Chief of Police for Protective and Intelligence
Operations. According to PoliceNet, 1 PSB's mission is to "provide safety and security to the
Capitol, Members of Congress, Officers of Congress, and their immediate family." PSB has a
Dignitary Protection Division, Investigations Division, and Intelligence and Interagency
Coordination Division (IICD).

The PSB Investigations Division has three sections: the Criminal Investigations Section, the
Threat Assessment Section, and the Intelligence Operations Section (10S).

PoliceNet states that IOS:

        • Provides overt and covert patrol of the Congressional Community to identify and disrupt individuals
          or groups intent on engaging in illegal activity directed at the Congressional Community and its
          legislative process.

        • Provides an investigative response to identified or reported suspicious activity to determine any
          nexus to terrorism or other criminal activity.

        • Conducts protective intelligence operations lo support Department operations related to Member
          Protection, Threat Assessment, and Intelligence Collection.

1 PoticeNet is the Department's intranet.

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Review ofthe Evems Surrounding the JanUQI'}' 6, 202 I. Takeover ofthe U.S. Capitol                202 I•l•000J•A, February 2011


                                           LAW ENFORCEMENT SENSITIVE

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                                                                                                         Appendix B
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                                          Listing ofRecommendations
    Recommendation 1: We recommend the United States Capitol Police establish policies
    and procedures requiring documentation for supervisory review and approval,
    standardized planning document formats, and communication to personnel of criteria
    for determining the level of operational planning documentation necessary for each
    anticipated event.

     Recommendation 2: We recommend the United States Capitol Police establish policies
     and procedures designating the specific entity or entities responsible for overseeing the
     operational planning and execution process for each anticipated event.

     Recommendation 3: We recommend the United States Capitol Police establish policies
     and procedures requiring that individual units develop operational plans and
     coordinate those plans with other units for a comprehensive, Department-wide effort.

     Recommendation 4: We recommend the United States Capitol Police implement
     formal guidance requiring that employees communicate any intelligence reports and
     concerns from external sources to appropriate commanders.

     Recommendation S: We recommend the United States Capitol Police implement
     detailed policies and procedures requiring any threat analysis included in operational
     planning is coordinated with Department entities having intelligence analysis and
     dissemination responsibilities.

     Recommendation 6: We recommend the United States Capitol Police provide training
     to its personnel on how better to understand and interpret intelligence assessments.

     Recommendation 7: We recommend the United States Capitol Police revise Standard
     Operating Procedure PS-602-08, A11alytic Sta11dards, dated February 1, 2018, to require
     supervisory review and approval for intelligence products to ensure its products are
     supported by relevant intelligence information and internally consistent.

     Recommendation 8: We recommend the United States Capitol Police require its sworn
     and operational civilian employees to obtain a Top Secret clearance and require that
     administrative civilian employees obtain a minimum of a Secret clearance.




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  INFORMATION
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                      U.S. CAPITOL POLICE BUDGET CONCERNS



                                                      HEARING
                                                            BEFORE THE

                            SUBCOMMITTEE ON CAPITOL SECURITY
                                                                OF THE

                               COMMITTEE ON HOUSE
                                  ADMINISTRATION
                             HOUSE OF REPRESENTATIVES
                                 ONE HUNDRED ELEVENTH CONGRESS
                                                        SECOND SESSION


                                     HELD IN WASHINGTON, DC, JULY 29, 2010


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                                                   (II)




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             HEARING ON U.S. CAPITOL POLICE BUDGET
                           CONCERNS

                               THURSDAY, JULY 29, 2010

                                     HOUSE OF REPRESENTATIVES,
                                SUBCOMMITTEE ON CAPITOL SECURITY,
                                  COMMITTEE ON HOUSE ADMINISTRATION,
                                                            Washington, DC.
              The subcommittee met, pursuant to call, at 11:00 a.m., in room
            1310, Longworth House Office Building, Hon. Michael E. Capuano
            (chairman of the subcommittee) presiding.
              Present: Representatives Capuano and Lungren.
              Staff Present: Jamie Fleet, Staff Director; Matt Pinkus, Profes-
            sional Staff/Parliamentarian; Kyle Anderson, Press Director; Joe
            Wallace, Legislative Clerk; Darrell O'Connor, Professional Staff;
            Ryan Caimi, Intern; and Katie Ryan, Minority Professional Staff.
              Mr. CAPUANO. The hearing will come to order. The purpose of the
            hearing is to exercise the subcommittee's oversight function. In
            considering the Inspector General's audit of the Capitol Police
            budget, formulation process, significant problems were discovered
            earlier this year. The subcommittee would like some explanation as
            to what went wrong and how it is being corrected.
              Today we have I believe only two people testifying, Chief Morse
            and Mr. Hoecker from the Inspector General. And with that, I am
            going to forgo any introductory comments and yield to the ranking
            member.
              [The information follows:]




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                    UNITED STATES CAPITOL POLICE
                    OFFICE OF INSPECTOR GENERAL



                   Audit of USCP Budget Formulation
                               Process

                                             Report Number OIG-2010-03
                                                     June 2010




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                                      UNITED STATES CAPITOL POLICE
                                                       WASHINGTON, DC




                    INSPECTOR GENERAL


                                                         PREFACE

                    The Office oflnspector General (OIG) prepared this report pursuant to the
                    Inspector General Act of 1978, as amended, It is one of a series of audit,
                    reviews, and investigative and special reports prepared furtherance of our
                    responsibility to identify and prevent fraud, waste, abuse, and
                    mismanagement within the programs and operations of the United States
                    Capitol Police.

                    This report is the result of an assessment of the strengths and weaknesses of
                    the office or function under review. It is based on interviews with employees
                    and officials of relevant agencies and institutions, direct observation, and a
                    review of applicable documents.

                    The recommendations herein have been developed on the basis of the best
                    knowledge available to the OIG, and have been discussed in draft with those
                    responsible for implementation. It is my hope that these recommendations
                    will result in more effective, efficient, and/or economical operations.

                    I express my appreciation to all of those who contributed to the preparation of
                    this report.




                                                           Carl W. Hoecker
                                                          Inspector General




            Audit of USCP Budget Fonnulation Process               OIG-20 I 0-03           June20l0




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            Comment Provided Bv The Chief• Page 39, third full paragraph • The new Executive Sponsor was appointed in
            March 2010, rather than January 20 I 0.

            OIG Response: As previously stated, through our quality control process, OIG found and corrected the
            appointment date of the new Executive Sponsor.


            Comment Provided Bv The ET• Page 40, first full paragraph under "OTHER MATTERS"• As stated previously in
            the Department's recommendations response memorandum, the Department does not make reference to
            investigatory activities in document that arc intended for publication in order to protect the due process rights of
            those involved.

            OIG Response: As previously stated, as required by Goiwnment Auditing Standards, when auditors
            conclude, based on sufficient, appropriate evidence, that fraud, illegal acts, or significant abuse either has
            occurred or is likely to have occurred, they should report the matter as finding. OIG also must consider
            whether the omission could distort the audit results or conceal improper and illegal practices. Our enabling
            legislation requires OIG to report to the Chief, Capitol Police Board, and Congress, as demonstrated by the
            Semiannual Report to Congress. In reporting this audit, OIG did not disclose the identities of those suspected
            of misconduct. Thus, we have accurately reported our activity to our stakeholders and without
            compromising the investigation. Additionally, in accordanee with OIC's reporting protocols, the EtecutiPe
            Summary; Objectii,es, Scope, and Methodology; and Body of the report must all stand alone and can be read as
            separate documents. Thus, this issue is reported in the Executive Summary as well as other areas of the
            report.




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            Audit ofUSCP Budget Formulation Process                          OIG-2010-03                     June 2010




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                     U.S. ELECTION ASSISTANCE COMMISSION
                          OFFICE OF INSPECTOR GENERAL




          SYSTEM REVIEW REPORT FOR THE AUDIT PEER REVIEW OF THE

                UNITED STATES CAPITOL POLICE
                 OFFICE OF INSPECTOR GENERAL
                 FOR THE YEAR ENDED SEPTEMBER 30, 2016




    No. E-PR-USCP-01-17
    MARCH2017




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                U.S. ELECTION ASSISTANCE COMMISSION
                1335 EAST.WEST HIGHWAY, SUITE 4300
                SILVE R SPRING, MD 20910
                OFFICE OF THE INSPECTOR GENERAL


                                          System Review Report

 March 16, 2017

 Fay F. Ropella, CPA, CFE
 Inspector General
 United States Capitol Police

 We have reviewed the system of quality control for the audit organization of the United States
 Capitol Police, Office of Inspector General (USCP OIG) in effect for the year ended September 30,
 2016. A system of quality control encompasses USCP OIG's organizational structure and the
 policies adopted and procedures established to provide it with reasonable assurance of
 conforming with Government Auditing Standards. The elements of quality control are described
 in Government Auditing Standards. USCP OIG is responsible for establishing and maintaining a
 system of quality control that is designed to provide USCP OIG with reasonable assurance that
 the organization and its personnel comply with professional standards and applicable legal and
 regulatory requirements in all material respects. Our responsibility is to express an opinion on
 the design of the system of quality control and USCP OIG's compliance therewith based on our
 review.

 Our review was conducted in accordance with Government Auditing Standards and the Council
 of the Inspectors General on Integrity and Efficiency (CIGIE) Guide for Conducting Peer Reviews
 of the Audit Organizations ofFederal Offices of Inspector General. During our review, we
 interviewed USCP OIG personnel and obtained an understanding of the nature of the USCP OIG
 audit organization, and the design of USCP OIG's system of quality control sufficient to assess
 the risks implicit in its audit function. Based on our assessments, we selected audits and
 administrative files to test for conformity with professional standards and compliance with
 USCP OIG's system of quality control. The audits selected represented a reasonable cross-
 section of USCP OIG audit organization, with emphasis on higher-risk audits. Prior to
 concluding the peer review, we reassessed the adequacy of the scope of the peer review
 procedures and met with USCP OIG management to discuss the results of our review. We believe
 that the procedures we performed provide a reasonable basis for our opinion.

 In performing our review, we obtained an understanding of the system of quality control for the
 USCP OIG audit organization. In addition, we tested compliance with USCP OIG's quality control
 policies and procedures to the extent we considered appropriate. These tests covered the
 application of USCP OIG's policies and procedures on selected audits. Our review was based on


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 selected tests; therefore, it would not necessarily detect all weaknesses in the system of quality
 control or all instances of noncompliance with it.

 There are inherent limitations in the effectiveness of any system of quality control, and,
 therefore, noncompliance with the system of quality control may occur and not be detected.
 Projection of any evaluation of a system of quality control to future periods is subject to the risk
 that the system of quality control may become inadequate because of changes in conditions, or
 because the degree of compliance with the policies or procedures may deteriorate.

 Enclosure 1 to this report identifies the USCP OIG audits that we reviewed.

 In our opinion, the system of quality control for the audit organization of USCP OIG in effect for
 the year ended September 30, 2016, has been suitably designed and complied w ith to provide
 USCP OIG with reasonable assurance of performing and reporting in conformity with applicable
 professional standards in all material respects. Audit organizations can receive a rating of pass,
 pass with deficiencies, or fail USCP OIG has received an External Peer Review rating of pass.

 In addition to reviewing its system of quality control to ensure adherence with Government
 Auditing Standards, we applied certain limited procedures in accordance with guidance
 established by the CIGIE related to USCP OIG's monitoring of audits performed by Independent
 Public Accountants (IPAs) under contract where the IPA served as the auditor. It should be noted
 that monitoring of audits performed by IPAs is not an audit and, therefore, is not subject to the
 requirements of Government Auditing Standards. The purpose of our limited procedures was to
 determine whether USCP OIG had controls to ensure IPAs performed contracted work in
 accordance with professional standards. However, our objective was not to express an opinion
 and accordingly, we do not express an opinion, on USCP OIG's monitoring of work performed
 by IPAs.




 Patricia L. Layfield, CPA, CIA, CISA
 Inspector General



 Enclosures




                                                  3

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                                                                                                     Enclosure 1


                                         Scope and Methodology

 We tested compliance with USCP OIG audit organization's system of quality control to the
 extent we considered appropriate. These tests included a review of three of four audit reports
 issued during the period October 1, 2015, through September 30, 2016. We also reviewed the
 internal quality control reviews performed by USCP OIG.

 In addition, we reviewed USCP OIG's monitoring of the one audit performed by IPAs where the
 IPA served as the auditor during the period October 1, 2015, through September 30, 2016.
 During the period, USCP OIG contracted for the audit of its agency's fiscal year 201 S financial
 statements.

 We visited USCP OIG's only office, located in Washington, DC.

                                    Reviewed Audits Performed bv USCP OIG
   Report No.      Report Date                                         ReportTitle
 OIG- 2016- 07      May 2016        Performance Audit of the United States Capitol Police Training Services Bureau
 OIG- 2016- 10     Auqust 2016      Performance Audit of the United States Caoitol Police Mobile Device Proa ram


                           Reviewed Monitorino Files of USCP OIG for Contracted Audits
   Report No.      Report Date                                         Report Title
  OIG-2016-01    December 1, 2015   Audit of the United States Caoital Police's Fiscal Year 2015 Financial Statements




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                                           UNITED STATES CAPITOL POLICE
                                                             WASHINGTON, DC 20510

                                                               March 7, 2017



INSPECTOR GENERAL




    Ms. Patricia L. Layfield, CPA, CIA, CISA
    Inspector General
    U.S. Election Assistance Commission
    1335 East-West Highway, Suite 4300
    Silver Spring, MD 20910

    Dear Inspector General Layfield:

             We appreciate the opportunity to respond to the U.S. Election Assistance
    Commission, Office of Inspector General's draft System Review Report on the U.S.
    Capitol Police's Office of inspector General (USCP OIG) Audit Organization. We are
    pleased that your review has concluded that the audit organization ofUSCP OIG has
    earned a pass rating. We have no further comments on the System Review Report.

            USCP OIG is committed to maintaining an effective system of quality controls, and
    we appreciate the thorough and professional manner in which your office conducted this
    review. If you have any questions, please contact me at (202) 593-4800, or contact Mr.
    Thomas Schweinefuss, Assistant Inspector General for Audits, at (202) 593-3867.


                                                                     Sincerely,




                                                                     Fay F. Ropella, CPA, CFE
                                                                     Inspector General




     449 South Capitol Street, SIV, Washi11g1011, DC 205/0                                              202-593-4555


                                                                   Jl66
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD; BUZZFEED, INC.,

               Plaintiffs,

   v.
                                                     Case No. 1:21-cv-00465-BAH
J. THOMAS MANGER, in his official capacity
as Chief, U.S. Capitol Police; MICHAEL
BOLTON, in his official capacity as Inspector
General of the U.S. Capitol Police,

               Defendants.


                    SECOND DECLARATION OF MICHAEL BOLTON
        I, Michael Bolton, declare as follows:

        1.     I am the Inspector General (IG) for the U.S. Capitol Police (USCP or Department),

a position I have held since January 20, 2019. From March 2018 to January 2019, I served as the

Acting Inspector General, and from August 2006 to March 2018 as the Assistant Inspector General

for Investigations. As Inspector General, I head the Department’s Office of Inspector General

(OIG), which supervises and conducts audits, inspections, and investigations involving USCP

programs, functions, systems, and operations.        This second declaration supplements my

declaration that was submitted with Defendants’ Motion for Summary Judgment, ECF No. 19-3,

and is in response to Plaintiffs’ Cross-Motion for Summary Judgment, ECF No. 22.

        2.     After January 6, 2021, OIG began a review of the events surrounding the takeover

of the U.S. Capitol. As part of that review, OIG has prepared Flash Reports on selected elements

within the USCP. At the request of the Committee on House Administration of the U.S. House of

Representatives, OIG has provided copies of the Flash Reports to the Committee. The Capitol

Police Board, consistent with the terms of Capitol Police Board Order 17.16, Office of Inspector

General Information (Dec. 12, 2017), has approved the public release of portions of these Flash




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Reports, specifically for the Executive swnrnary and recommendations contained in each Flash
Report to be posted on the website of the Committee.
       3.      In their Cross-Motion, Plaintiffs have attached as Exhibit 3 my prepared remarks
for an April 15, 2021 hearing before the Committee on House Administration, and as Exhibit 4
excerpts from the February 2021 Flash Report: Operational Planning and Intelligence that was
provided to the Committee at its request.       The information contained in those referenced
documents has been specifically authorized for public release by the Capitol Police Board.



       I declare under penalty of perjury under the Jaws of the United States that the foregoing is
true and correct.
       Executed on this t 7th day of December, at Washington, D.C.




                                                         ~... ~ s9z ::cs., -, ~

                                                                    Michael Bolton




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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA


    JASON LEOPOLD, et al.,

                            Plaintiffs,                           Civil Action No. 21-cv-00465 (BAH)

                            v.                                    Chief Judge Beryl A. Howell

    J. THOMAS MANGER, in his official
    capacity as Chief, U.S. Capitol Police, et al., 1

                            Defendants.


                                                  ORDER


           Upon consideration of the defendants’ Motion for Summary Judgment, ECF No. 19, the

plaintiffs’ Cross Motion for Summary Judgment, ECF No. 22, the memoranda submitted in

support and opposition, the exhibits thereto, and the entire record herein, for the reasons stated in

the accompanying Memorandum Opinion issued contemporaneously with this Order, it is hereby

          ORDERED that the defendants’ Motion for Summary Judgment, ECF No. 19, having

been construed as a motion to dismiss for lack of subject matter jurisdiction under Federal Rule

of Civil Procedure 12(b)(1), is GRANTED; it is further

          ORDERED that this case is DISMISSED WITHOUT PREJUDICE; it is further

          ORDERED that the plaintiff’s Cross Motion for Summary Judgment, ECF No. 22, is

DENIED; and it is further




1
         Chief J. Thomas Manger is substituted as defendant for former Acting Chief Yogananda D. Pittman. See
FED. R. CIV. P. 25(d).

                                                           1

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      ORDERED that the Clerk of Court shall close this case.

      SO ORDERED.

      Date: September 20, 2022

      This is a final and appealable Order.


                                                  __________________________
                                                  BERYL A. HOWELL
                                                  Chief Judge




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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

    JASON LEOPOLD, et al.

                           Plaintiffs,
                                                           Civil Action No. 21-cv-00465 (BAH)
                           v.
                                                           Chief Judge Beryl A. Howell
    J. THOMAS MANGER, Chief, U.S. Capitol
    Police, et al.,

                           Defendants.


                                     MEMORANDUM OPINION

         Plaintiffs Jason Leopold and his employer Buzzfeed News assert that the common-law

right to public access and certain statutory duties of disclosure require defendants, the Chief of

the United States Capitol Police (“USCP”) and the Inspector General of the Capitol Police, both

in their official capacities, to disclose certain requested documents relating to internal USCP

operations. See generally Am. Compl. ¶¶ 8–17, ECF No. 12. 1 Defendants contend that

sovereign immunity bars the exercise of jurisdiction here and that no valid claim is presented,

warranting the grant of summary judgment in their favor, pursuant to Federal Rule of Civil

Procedure 56, Defs.’ Mot. Summ. J. (Defs.’ Mot.) at 1, ECF No. 19; Defs.’ Mem. Supp. Mot.

Summ. J. (“Defs.’ Mem.”) at 7–8, ECF No. 19-2, while plaintiffs invoke the common-law and

statutory duties of disclosure as creating an exception to sovereign immunity, entitling them to

mandamus relief ordering the production of the requested documents, Pls.’ Cross-Mot. Summ. J.

& Opp’n Mot. Summ. J. (“Pls.’ Cross-Mot.”) at 1, ECF No. 22; Pls.’ Mem. Supp. Cross-Mot.

Summ. J. & Opp’n Def.’s Mot. Summ. J. (“Pls.’ Opp’n”) at 2–4, ECF No. 22.


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         Chief J. Thomas Manger is substituted as defendant for former Acting Chief Yogananda D. Pittman. See
FED. R. CIV. P. 25(d).

                                                       1

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       For the reasons explained below, defendants’ motion for summary judgment is construed

to be a motion for dismissal for lack of subject matter jurisdiction, pursuant to Federal Rule of

Civil Procedure 12(b)(1). See, e.g., Kirkham v. Société Air Fr., 429 F.3d 288, 291 (D.C. Cir.

2005) (treating summary judgment motion, which raised sovereign immunity, as motion to

dismiss under Rule 12(b)(1) for lack of subject matter jurisdiction, explaining that summary

judgment “represents a decision on the merits, which courts may render only after jurisdiction

has been established”); Kiakombua v. Wolf, 498 F. Supp. 3d 1, 21 (D.D.C. 2020) (Jackson, K.B.,

J.) (construing motion styled as motion for summary judgment “as a motion to dismiss for lack

of subject-matter jurisdiction under Rule 12(b)(1) or, in the alternative, a motion for summary

judgment under Rule 56(a)” (emphasis in original)); Whiteru v. WMATA , 258 F. Supp. 3d 175,

181–82 (D.D.C. 2017) (Jackson, K.B., J.) (construing motion for summary judgment on the basis

of sovereign immunity as a motion to dismiss under Rule 12(b)(1)). See also Hakki v. Sec’y,

Dep’t of Veteran Affs., 7 F.4th 1012, 1022–23 (11th Cir. 2021) (holding that challenge to subject

matter jurisdiction on motion under Rule 56(a) was “reasonably construed” as Rule 12(b)(1)

motion); Smith v. WMATA, 290 F.3d 201, 205 (4th Cir. 2002) (“[A]n assertion of governmental

immunity is properly addressed under the provisions of Rule 12(b)(1) of the Federal Rules of

Civil Procedure.”). So construed, defendants’ motion is granted, requiring dismissal of the

Complaint.

I.     BACKGROUND

       Following the January 6, 2021, attack on the U.S. Capitol, plaintiffs—investigative

journalist Jason Leopold and Buzzfeed News—planned to prepare and publish one or more

articles about the USCP. Am. Compl. ¶ 1. To that end, on January 28, 2021, plaintiffs submitted

requests to the USCP’s Public Information Office and the USCP Office of Inspector General



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(“OIG”) seeking six categories of documents: (1) “Inspector General semiannual reports for

2015 forward,” id. ¶ 4; (2) “other Inspector General reports, including audits for 2008 forward,”

id.; (3) “annual financial statements and audits of annual financial statements for 2015 forward,”

id.; (4) “semiannual reports of disbursements for 2015 forward,” id.; (5) “USCP written

directives in effect on January 6, 2021,” id.; and (6) “demonstration permits, denials, or other

written memorials of final decisions relating of final decisions relating to permits for public

gatherings on the Capitol grounds on January 6, 2021,” id. See also Pls.’ Pet. Writ of Mandamus

(“Pls.’ Pet.”), Ex. 1, Document Request Emails, ECF No. 1-1; 2 Defs.’ Statement of Material

Facts As to Which There Is No Genuine Issue (“Defs.’ SMF”) ¶ 3, ECF No. 19-1. 3

         Shortly thereafter, on February 11, 2021, USCP’s general counsel responded to plaintiffs’

request by email, declining to provide the documents and suggesting other points of contact to

obtain some categories of information. Pls.’ Pet., Ex. 2, Initial Request Response, ECF No. 1-1;

Defs.’ SMF ¶ 4. Three weeks later, on February 23, 2021, plaintiffs filed the instant suit to

obtain the requested documents, pursuant to the common-law right of public access and a statute

governing the USCP OIG, 2 U.S.C. § 1909. Pls. Pet.; Am. Compl. ¶¶ 8–17.

         Since the filing of this lawsuit, defendants have disclosed a number of documents to

plaintiffs, narrowing considerably the scope of the requested records remaining at issue in this




2
         Plaintiffs initiated this lawsuit with a filing captioned “Petition for A Writ of Mandamus,” ECF No. 1,
which defendants sought to dismiss on grounds that plaintiffs had not filed an appropriate complaint, Defs.’ Mot.
Dismiss, ECF No. 10; Def.’ Mem. Supp. Mot. Dismiss at 3–6, ECF No. 10-1. Plaintiffs thereafter filed the amended
complaint, ECF No. 12, resulting in dismissal as moot of defendants’ motion, see Minute Order (June 1, 2021).
3
         Plaintiffs have controverted no facts in defendants’ statement of material facts, see Pls.’ Cross-Mot. Supp.
Summ. J., Pls.’ Statement of Material Facts As to Which There Is No Genuine Issue (“Pls.’ SMF”), ECF No. 22-2,
and thus the facts set out by defendants may be deemed admitted. See LCvR 7(h)(1) (“In determining a motion for
summary judgment, the court may that assume facts identified by the moving party in its statement of material facts
are admitted, unless such a fact is controverted in the statement of genuine issues filed in opposition to the
motion.”); Fed. R. Civ. P. 56(e)(2) (“If a party fails to properly support an assertion of fact or fails to properly
address another party’s assertion of fact as required by Rule 56(c), the court may: . . . consider the fact undisputed
for the purposes of the [summary judgment] motion . . . .”).

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lawsuit. 4 Plaintiffs continue to seek, and defendants decline to disclose, the following

documents: (1) 101 USCP written directives in effect on January 6, 2021, which directives detail

internal policies and guidance for USCP operations and have been classified by USCP as “Law

Enforcement Sensitive,” Pls.’ Reply Supp. Pls.’ Cross-Mot. for Summ. J. (“Pls.’ Reply) at 4–18;

Defs.’ SMF ¶¶ 3, 10; Decl. of James Joyce, Senior Counsel, USCP’s Office of the General

Counsel (“OGC Decl.”) ¶ 11, ECF No. 19–5; (2) semiannual OIG reports from 2015 to the

present, Pls.’ Reply at 18–22; Defs.’ SMF ¶ 3; and (3) all other OIG reports, including audits,

from 2008 to the present, Pls.’ Reply 22–25; Defs.’ SMF ¶ 3.

         As to the 101 USCP written directives at issue, defendants maintain that these directives,

which are classified as “Law Enforcement Sensitive,” may not be disclosed because they detail

internal policies and guidance for USCP operations and “would reveal confidential sources and

methods, investigative activities and techniques” that should not be made public. Defs.’ SMF

¶ 10; OGC Decl. ¶¶ 10–12. Furthermore, 65 of the 101 written directives have been designated

by a USCP document review team as “security information,” as defined in 2 U.S.C. § 1979(a),

meaning that their disclosure is statutorily prohibited absent authorization from the U.S. Capitol

Police Board (“USCP Board”), which authorization has not been granted. Defs.’ SMF ¶ 8; OGC

Decl. ¶ 9 (citing 2 U.S.C. § 1979). As to the requested OIG reports, defendants maintain that the

semiannual and other OIG reports are also “Law Enforcement Sensitive” and deemed “security

information” under 2 U.S.C. § 1979(a), and public distribution of these OIG reports has been



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          The following requested records have been disclosed to plaintiffs: (1) semiannual reports of USCP
disbursements from 2015 to the present, Defs.’ SMF ¶ 5; (2) demonstration permits, denials, or other written
materials of final decisions relating to permits for public gatherings on the Capitol grounds on January 6, 2021, id.
¶ 6; and (3) two USCP written directives in effect on January 6, 2021, id. ¶ 7. Plaintiffs are no longer asserting a
right to access the requested USCP financial statements, and have narrowed their request for the outstanding USCP
written directors to 101 directives. See Pls’ Reply Supp. Pls.’ Cross-Mot. Summ. J. (“Pls.’ Reply”) at 4–25, ECF
No. 27; Decl. of James Joyce, Senior Counsel, USCP’s Office of General Counsel (“OGC Decl.”) ¶¶ 8-10, ECF No.
19-5; Defs.’ Mot., Ex. C, List of Directives, ECF No. 19-7 (listing the specific 101 directives still at issue).

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specifically prohibited by the USCP Board in a 2017 order issued pursuant to the Board's

statuto1y authority to regulate the distribution of such security info1mation. Defs.' SMF ,i,i 13-

14; Deel. of Michael Bolton, USCP's Inspector General ("IG Deel.") ,i,i 7-10, ECF No. 19-3

(citing IG Deel., Ex. A, Capitol Police Board Order 17.16 (Dec. 12, 2017) ("2017 Order"), ECF

No. 19-4); see also 2 U.S.C. § 1979(b), (d).

       The paiiies' pending motions are now ripe for review.

II.    LEGAL STANDARD

       "Atiicle III of the Constitution prescribes that ' [f]ederal comis are comis oflimited

subject-matter jurisdiction ' and 'ha[ ve] the power to decide only those cases over which

Congress grants jurisdiction."' Bronner ex rel. Am. Stud. Ass 'n v. Duggan, 962 F.3d 596, 602

(D.C. Cir. 2020) (alterations in original) (quoting Al-Zahrani v. Rodrigue:., 669 F.3d 315, 317

(D.C. Cir. 2012)); see also Gunn v. Minton, 568 U.S . 251, 256 (2013) ("'Federal comis ai·e

comis of limited jurisdiction, ' possessing 'only that power authorized by Constitution and

statute."' (quoting Kokkonen v. Guardian Life Ins. Co. ofAm. , 511 U.S. 375, 377 (1994))).

Federal comis therefore have a co1Tesponding "independent obligation to ensure that they do not

exceed the scope of their jurisdiction" and "must raise and decide jurisdictional questions that the

paiiies either overlook or elect not to press." Henderson v. Shinseki, 562 U.S. 428, 434 (2011).

Absent subject-matter jurisdiction over a case, the comi must dismiss it. See Arbaugh v. Y & H

Corp., 546 U.S. 500, 506-07 (2006) (citing Kontrickv. Ryan, 540 U.S . 443,455 (2004)); FED. R.

Crv. P. 12(h)(3).

       To survive a motion to dismiss m1der Federal Rule of Civil Procedure 12(b)(l), the

plaintiff bears the burden of demonstrating the comi's subject-matter jurisdiction over the claim

at issue. Arpaio v. Obama, 797 F.3d 11, 19 (D.C. Cir. 2015). When considering a motion to



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dismiss under Rule 12(b)(1), the court must determine jurisdictional questions by accepting as

true all uncontroverted material factual allegations contained in the complaint and “‘constru[ing]

the complaint liberally, granting plaintiff[s] the benefit of all inferences that can be derived from

the facts alleged.’” Hemp Indus. Ass’n v. DEA, 36 F.4th 278, 281 (D.C. Cir. 2022) (second

alteration in original) (quoting Am. Nat’l Ins. Co. v. FDIC, 642 F.3d 1137, 1139 (D.C. Cir.

2011)). The court need not accept inferences drawn by the plaintiff, however, if those inferences

are unsupported by facts alleged in the complaint or amount merely to legal conclusions. Id. at

288 (making clear that liberally construing complaint in plaintiff’s favor “does not entail

accept[ing] inferences unsupported by facts or legal conclusions cast in the form of factual

allegations” (alteration in original) (internal quotation omitted)); see also Browning v. Clinton,

292 F.3d 235, 242 (D.C. Cir. 2002). The court “may consider materials outside the pleadings” in

assessing whether subject matter jurisdiction may be exercised. Jerome Stevens Pharm., Inc. v.

Food & Drug Admin., 402 F.3d 1249, 1253 (D.C. Cir. 2005).

III.     DISCUSSION

         Defendants argue that the doctrine of sovereign immunity deprives the Court of

jurisdiction over defendants, as Legislative Branch officers who were sued in their official

capacity. Defs.’ Mem. at 5–7. Plaintiffs counter that an exception to sovereign immunity

applies, see Pls.’ Opp’n at 2–4, and, further, that the common-law right of access and a statutory

right of access, under 2 U.S.C. § 1909(c), mandate the disclosure of the requested materials, see

id. at 4–40, 40–45. Each argument is addressed in turn.5


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          Defendants also argue that plaintiffs’ claims fail on the merits for several reasons, including that the
Inspector General Act of 1978 (“IG Act”), 5 U.S.C. App. 3, does not amount to a statutory entitlement to the
disclosure of OIG reports, a substantial portion of the requested materials are statutorily prohibited from disclosure
as security information, and the requested materials do not qualify as public records cognizable under the common
law right of access. Defs.’ Mem. at 5. Except to the extent these arguments are intertwined with the jurisdictional
analysis, see infra Part III.A.2, 3, they need not be addressed as the complaint is dismissed for lack of subject-matter
jurisdiction. See Al-Tamimi v. Adelson, 916 F.3d 1, 7 (D.C. Cir. 2019) (finding that district court properly

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         A.       Sovereign Immunity

         Generally, "a suit is against the sovereign if the judgment sought would expend itself on

the public treasmy or domain, or interfere with the public administration or if the effect of the

judgment would be to restrain the Government from acting, or to compel it to act." Dugan v.

Rank, 372 U.S. 609, 620 (1963) (internal quotations and citations omitted). For such suits, "[t]he

basic mle of federal sovereign immunity is that the United States cannot be sued at all without

the consent of Congress." Blockv. North Dakota ex rel. Bd. of Univ. & Sch. Lands, 461 U.S.

273, 287 (1983); see also FDIC v. Meyer, 510 U .S. 471 , 475 (1994) ("Absent a waiver,

sovereign immunity shields the Federal Government and its agencies from suit." (citations

omitted)); United States v. Mitchell, 463 U .S. 206, 212 (1983) ("It is axiomatic that the United

States may not be sued without its consent and that the existence of consent is a prerequisite for

jmisdiction."); Shuler v. United States, 531 F.3d 930, 932 (D.C. Cir. 2008) ("The United States

is protected from unconsented suit under the ancient common law doctrine of sovereign

immunity." (quoting Gray v. Bell, 712 F.2d 490, 506 (D.C. Cir. 1983))). Any "waiver of the

Federal Gove1mnent's sovereign irmmmity must be lmequivocally expressed in statuto1y text and

will not be implied." Lane v. Pena, 518 U.S. 187, 192 (1996) (citations omitted).

         The D.C. Circuit has "generally ... concluded that '[f]ederal agencies or

instn nnentalities perfo1ming federal fimctions always fa ll on the "sovereign" side of [the] fault

line"' and thus the doctrine of sovereign immunity forecloses claims against those entities as

institutions. Albrecht v. Comm. on Emp. Benefits, 357 F.3d 62, 67 (D.C. Cir. 2004) (quoting

Auction Co. ofAm. v. FDIC, 132 F.3d 746, 752 (D.C. Cir. 1997)) (alterations and emphasis in



considered jurisdictional issue "before considering whether dismissal for failure to state a claim was appropriate
under Fed. R. Civ. P. 12(b)(6)"); see also Steel Co. v. C;t;zensfor a Better Env 't, 523 U.S. 83, 94 (1998)
("Jurisdiction is power to declare the law, and when it ceases to exist, the only function remaining to the comi is that
of announcing the fact and dismissing the cause." (quoting Ex parte Mccardle, 74 U.S. (7 Wall.) 506, 514 (1868))).

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the original). Agencies within the legislative branch are therefore no exception. See, e.g.,

Rockefeller v. Bingaman, 234 F. App’x 852, 855 (10th Cir. 2007) (holding that sovereign

immunity “forecloses . . . claims against the House of Representatives and Senate as

institutions,” and against members of both congressional houses “acting in their official

capacities,” because “an ‘official capacity’ suit is treated as a suit against a government entity”

(quoting Rockefeller v. Bingaman, No. CIV-06-0198, 2006 WL 4061183, at *3 (D.N.M. Sept.

20, 2006) and citing Keener v. Cong. of the U.S., 467 F.2d 952, 953 (5th Cir. 1972)); Cofield v.

United States, 64 F. Supp. 3d 206, 213–14 (D.D.C. 2014) (“[S]overeign immunity bars any claim

for money damages against the United States (including the U.S. Senate) and its

agencies.”). Given that a suit against a government official in his official capacity “generally

represent[s] only another way of pleading an action against an entity of which an officer is an

agent,” courts must treat an official capacity suit as “a suit against the entity,” and apply the

governing principles of sovereign immunity accordingly. Kentucky v. Graham, 473 U.S. 159,

165–66 (1985) (internal quotations and citations omitted).

       Plaintiffs sued the U.S. Capitol Police and its Inspector General for records generated in

their official capacity. Am. Compl. ¶¶ 2–4. The USCP is a federal agency within the Legislative

Branch, see 2 U.S.C. § 1901 et seq.; Defs.’ SMF ¶ 1; see also, e.g., Baugh v. U.S. Capitol Police,

Civ. No. 22-139, 2022 WL 2702325, at *4 (D.D.C. July 12, 2022). As such, plaintiffs apparently

concede that sovereign immunity would ordinarily bar suit, but nonetheless dispute that such

immunity operates to bar this case because, instead of seeking monetary damages, they seek

mandamus relief under 28 U.S.C. § 1361. Pls.’ Opp’n at 2. Specifically, they contend that the

so-called Larson-Dugan exception to sovereign immunity applies to permit this suit to go

forward. Id. at 2–3 (first citing Wash. Legal Found. v. U.S. Sent’g Comm’n (“WLF II”), 89 F.3d



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897, 901 (D.C. Cir. 1996), then Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682 (1949),

then Dugan v. Rank, 372 U.S. 609 (1963)). As the analysis that follows shows, even upon

application of the Larson-Dugan exception to sovereign immunity, no disclosure of the

requested records is required.

                1.     Application of the Larson-Dugan Exception

        In Larson v. Domestic & Foreign Commerce Corp., the plaintiff sued the head of the War

Assets Administration, not for money damages, but for specific performance of the delivery of

surplus coal in accordance with the plaintiff’s contract with the government, 337 U.S. 682, 684–

85 (1949). Finding that the Administrator’s action in refusing the coal shipment to the plaintiff

was not unconstitutional or ultra vires conduct outside the scope of the Administrator’s

authority, nor contrary to statute or order, id. at 703, the Supreme Court concluded that the

Administrator’s action “was, therefore, inescapably the action of the United States and the effort

to enjoin it must fail as an effort to enjoin the United States,” id.; see also id. at 688 (noting suit

would be barred “not because it is a suit against an officer of the Government, but because it is,

in substance, a suit against the Government over which the court, in the absence of consent, has

no jurisdiction”). The Court thereby clarified, and made explicit in Dugan v. Rank, 372 U.S. 609

(1963), an exception to sovereign immunity in actions seeking specific relief for “(1) action by

[government] officers beyond their statutory powers [or] (2) even though within the scope of

their authority, the powers themselves or the manner in which they are exercised are

constitutionally void.” Id. at 621–22. “In either of such cases the officer’s action ‘can be made

the basis of a suit for specific relief against the officer as an individual.’” Id. at 622 (quoting

Malone v. Bowdoin, 369 U.S. 643, 647 (1962)); see also Dalton v. Specter, 511 U.S. 462, 472

(1994)) (quoting Larson, 337 U.S. at 691 n.11) (summarizing Larson as holding “that sovereign



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immunity would not shield an executive officer from suit if the officer acted either

‘unconstitutionally or beyond his statutory powers’” (emphasis in original)); Pollack v. Hogan,

703 F.3d 117, 119–21 (D.C. Cir. 2012); id. at 120 (quoting Larson, 337 U.S. at 689) (“Under

[the Larson-Dugan] exception, ‘suits for specific relief against officers of the sovereign’

allegedly acting ‘beyond statutory authority or unconstitutionally’ are not barred by sovereign

immunity.”).

       Defendants first contend that “to proceed with this suit, Plaintiffs must identify a waiver

of sovereign immunity that is ‘unequivocally expressed in statutory text,’” and that because they

have not, sovereign immunity remains in force. Defs.’ Mem. at 12 (quoting Lane, 518 U.S. at

192). This argument is insufficient. As Judicial Watch, Inc. v. Schiff, 474 F. Supp. 3d 305

(D.D.C. 2020), states regarding mandamus relief, defendants’ argument “merely begs the

question,” id. at 312, because, if the Larson-Dugan exception does apply, “[n]o separate waiver

of sovereign immunity is required to seek a writ of mandamus to compel an official to perform a

duty required in his official capacity,” Fornaro v. James, 416 F.3d 63, 69 (D.C. Cir. 2005); see

also WLF II, 89 F.3d at 901 (“If a plaintiff seeks a writ of mandamus to force a public official to

perform a duty imposed upon him in his official capacity, however, no separate waiver of

sovereign immunity is needed.” (citing Chamber of Cong. of U.S. v. Reich, 74 F.3d 1322, 1329

(D.C. Cir. 1996))).

       Defendants’ next argument is that the Larson-Dugan exception is inapplicable because

“Plaintiffs have not identified any officer of the sovereign who they allege is exceeding his or her

statutory or constitutional authority.” Defs.’ Mem. at 12 (internal quotation omitted). Instead,

plaintiffs only allege a failure to act under purported statutory duties and a violation of a

common law (as opposed to statutory or constitutional) right of access. Id. at 12–13. Binding



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D.C. Circuit precedent, however, is clear that these violations can indeed trigger the Larson-

Dugan exception. hi WLF 11, plaintiffs sought, pmsuant to the common-law right of public

access to government records, disclosm e of documents "compiled or created by an adviso1y

committee established by the United States Sentencing Commission." 89 F.3d at 898- 99. In the

Circuit's analysis, the relevant "duty" owed by the defendants in the case stemmed from the

common-law right itself, not a separate statute or regulation. Id. at 901. Whether the Larson-

Dugan exception to sovereign immunity applies "depends upon whether the Government has a

duty to the plaintiff, vi::. to allow it access to certain government records." Id. 6

         As a result, applicability of the exception turns first on the existence of the duty, an d the

application of sovereign immnnity merges with the claimed duty to disclose asserted in the

Complaint. The D .C. Circuit explained: "the question of jm isdiction merges with the merits,"

tr iggering an assessment of the validity of plaintiffs claim under the common-law right of

access. Id. at 902. See also Swan v. Clinton, 100 F.3d 973, 981 (D.C. Cir. 1996) (determining

whether "the Larson-Dugan exception would be triggered and hence no waiver of sovereign

immnnity is required" rested on "discussion of the central merits question in the case, namely



6         The D.C. Circuit's expansion of the Larson-Dugan doctrine to allow claims akin to those brought against
federal agencies, under the Freedom oflnfonnation Act ("FOIA"), 5 U.S.C. § 552, seeking disclosw-e ofrecords
from other federal govemment components, pll1'suant to the common-law right of public access, significantly
broadens this exception to sovereign innnunity beyond the parameters a1ticulated by the Supreme Comt and, at first
blush, is not easily reconciled with Supreme Comt jurispmdence that waivers of sovereign immunity must be
expressly set out by statute. See, e.g. , PennEast Pipeline Co., LLC v. New Jersey, 141 S. Ct. 2244, 2253- 54 (2021)
(refenmg to "this Court's precedents holding that Congress cannot abrogate state sovereign immunity in the absence
of an 'unmistakably clear' statement" (quoting Blatcliford v. Native Viii. ofNoatak, 501 U.S. 775, 786 (1991));
United States 11. Bonnes, 568 U.S. 6, 9 (2012) ("Sovereign immunity shields the United States from suit absent a
consent to be sued that is 'unequivocally expressed. "' (quoting United States v. Nordic Village, Inc., 503 U.S. 30,
33- 34 (1992) (citingbwin v. Dep 't of Veterans Affs., 498 U.S. 89, 95 (1990))) (intemal quotation marks omitted)).
Indeed, in the instant case, plaintiffs insist that "a Vaughn index is necessruy" listing each record withheld by
defendants, with appropriate justification to overcome the common law right of access, Pis. ' Reply at 14, thereby
impotting and applying to a Legislative Branch entity a tool used in the FOIA litigation context, see Union Leader
C01p. v. United States Dep't ofHomeland Sec., 749 F.3d 45, 49 n.3 (1st Cir. 2014) ("A Vaughn index is a now
standard tool conceived by the District of ColU1Ubia circuit to facilitate resolution of FOIA disputes, derived from
the D.C. Circuit's decision in Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973) ." (intemal quotation omitted)).
Nonetheless, the Comt is bound by D.C. Circuit authority, which demands this analysis.

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whether” challenged government action violated statute); Mashiri v. Dep’t of Educ., 724 F.3d

1028, 1031–32 (9th Cir. 2013); id. at 1032 (following D.C. Circuit’s practice when finding that

“the question of ‘[w]hether the Larson-Dugan exception’ applied ‘merge[d] with the question on

the merits,’” and therefore turning “to address the substantive merits of the mandamus claim

before it’” (quoting WLF II, 89 F.3d at 901–02) (alterations in original)); accord Int’l Fed’n. of

Prof’l & Tech. Eng’rs v. United States, 934 F. Supp. 2d 816, 821–22 (D. Md. 2013) (applying

Larson-Dugan exception to avoid sovereign immunity bar and reach merits of suit by union and

employees of legislative branch entities against Secretary of the United States Senate and

Sergeant at Arms of the Senate in their official capacities, claiming parts of the Stop Trading on

Congressional Knowledge Act were unconstitutional); Ctr. for Arms Control & Non-

Proliferation v. Lago, Civ. No. 05-682 (RMC), 2006 WL 3328257, at *4–*6 (D.D.C. Nov. 15,

2006) (in suit for disclosure of materials used by defunct presidential commission in developing

a report to the President, finding that sovereign immunity defense was “auxiliary to the ultimate

question on the merits” as to whether the commission owed duty of disclosure under sunshine

provisions of Federal Advisory Committee Act and therefore addressing the merits).

       Accordingly, the merits of plaintiffs’ request, under the common-law right of access, that

defendants disclose 101 USCP written directives in effect on January 6, 2021 and OIG reports,

including semiannual reports and audits, must be considered to assess whether sovereign

immunity bars this lawsuit against defendants.

               2.     No Common-Law Right of Access to Requested Records

       The Supreme Court has made “clear that the courts of this country recognize a general

right to inspect and copy public records and documents, including judicial records and

documents.” Nixon v. Warner Commc’ns, 435 U.S. 589, 597 (1978) (footnote omitted). This



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right of access is “not absolute,” id. at 598, but “left to the sound discretion of the trial court, a

discretion to be exercised in light of the relevant facts and circumstances of the particular case,”

id. at 599; see SEC v. Am. Int’l Grp., 712 F.3d 1, 3 (D.C. Cir. 2013) (“Of course, even if a

document is a record of the type subject to the common law right of access, the right is not

absolute: it is defeated when the government’s interest in secrecy outweighs the public’s interest

in disclosure.”). Binding precedent in this Circuit ensures that “the common law right of access

extends beyond judicial records to the ‘public records’ of all three branches of government.”

Ctr. for Nat’l Sec. Studies v. U.S. Dep’t of Justice, 331 F.3d 918, 936 (D.C. Cir. 2003) (citing

WLF II, 89 F.3d at 903–04); see also Schwartz v. U.S. Dep’t of Justice, 435 F. Supp. 1203, 1204

(D.D.C. 1977) (holding “that Congress is subject to the common law rule which guarantees the

public a right to inspect and copy public records” and explaining that even though “Congress has

exempted itself from the requirements of the Freedom of Information Act, 5 U.S.C. § 552, by 5

U.S.C. § 551(1)(A)[,] [t]hat Act, however, is not coextensive with the common law rule”).

                        a)     Displacement of the Common-Law Right of Public Access for OIG
                        Reports and Certain Written Directives

        Certain documents still sought by plaintiffs are not subject to the common-law right of

public access, however, because a statute in place displaces that default right. Specifically, a

statute governing USCP operations provides, in pertinent part:

        [A]ny security information in the possession of the Capitol Police may be released
        by the Capitol Police to another entity, including an individual, only if the Capitol
        Police Board determines in consultation with other appropriate law enforcement
        officials, experts in security preparedness, and appropriate committees of
        Congress, that the release of the security information will not compromise the
        security and safety of the Capitol buildings and grounds or any individual whose
        protection and safety is under the jurisdiction of the Capitol Police.

2 U.S.C. § 1979(b) (emphasis added). “Security information” is broadly defined as that which

“is obtained by, on behalf of, or concerning” the USCP and “is sensitive with respect to the


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policing, protection, physical security, intelligence, counterterrorism actions, or emergency

preparedness and response relating to Congress, any statutory protectee of the Capitol Police,

and the Capitol buildings and grounds.” Id. § 1979(a)(1), (2).

       As far as “security information” is concerned, then, Congress has crafted a specific

statutory scheme regarding public access that involves the USCP Board and others considering

the material and determining whether public release is appropriate—not the federal courts

applying the common law test for the right of public access. Where Congress has enacted a

particular statutory scheme governing access to certain information, that scheme “preempts the

common law right” of public access, for “[i]t would make no sense” for Congress to create such

a scheme only for courts to “turn and determine that the statute ha[s] no effect on a preexisting

common law right of access.” Ctr. for Nat’l Sec. Studies v. U.S. Dep’t of Justice, 331 F.3d 918,

937 (D.C. Cir. 2003); see also Milwaukee v. Illinois, 451 U.S. 304, 313–14 (1981) (“[F]ederal

common law . . . is resorted to in the absence of an applicable Act of Congress.” (internal

quotation omitted)).

       Much of the requested material still at issue has been identified by a USCP document

review team and by the USCP Board as “security information” and so is subject to this statutory

scheme governing disclosure, not to the common-law right of public access. See Defs.’ SMF

¶¶ 8; 13–14 (detailing that the requested OIG reports and 65 of the USCP written directives have

been determined to be security information, under 2 U.S.C. § 1979(a), and implementing

regulations authorized under 2 U.S.C. § 1979(d)); OGC Decl. ¶ 9; IG Decl. ¶ 8.

       Specifically, 65 of the 101 written USCP directives at issue, constitute security

information, under 2 U.S.C. § 1979(a), because these directives “contain operational information

that would reveal [the] confidential sources and methods, investigative activities and techniques”



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of USCP and “reflect the USCP’s internal policies, rules, protocols, and guidance for USCP

personnel on a variety of subjects.” OGC Decl. ¶ 11. For example, some of these directives

outline how USCP personnel are to respond to specific types of threats (e.g., active shooters,

suicide bombers, hazardous material incidents), various physical and information technology

security protocols (e.g., the handling of identification badges, the use of computer passwords and

anti-virus software, and the maintenance of physical equipment like self-contained breathing

apparatuses), and operating procedures for regular USCP law enforcement activities (e.g., the use

of handcuffs, executing arrest and search warrants, vehicular pursuits, and building evacuations).

See Defs.’ Mot., Ex. C, List of Directives, ECF No. 19-7. Even a brief perusal of the titles of

these 65 USCP directives makes clear the sensitive operational nature of the contents, with titles

including, for example, “Use of Handcuffs/Restraints,” “Use of Force,” “Vehicular Pursuits,”

“Building Evacuations” and “Responding to a Suicide Bomber: 10-100 S (Sam).” Id.

        Given the subject matter contemplated by these directives, defendants persuasively posit

that if the “sensitive law enforcement information contained in the security information

directives” were to be made available for the public, it “could unduly reveal the methods,

techniques, and responses that the USCP employs for Capitol Grounds security and could also

increase the potential for individuals and groups that wish to disrupt, attack, or harm the Capitol

or the Congress to do so.” See OGC Decl. ¶ 12. Their designation as “security information” and

the resultant limitations on access contemplated by 2 U.S.C. 1979(b) is therefore proper.

       The OIG reports at issue—both the semiannual reports from 2015 forward and all other

reports, including audits, from 2008 forward—have also been designated “security information”

by the USCP Board, which acted under its statutory authority to determine the release of security

information, see 2 U.S.C. § 1979(b), (d), by specifically prohibiting the distribution of all OIG



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information “including, but not limited to, audit reports, investigations reports, analyses, reviews,

evaluations, [and] annual work plans” beyond the USCP or the USCP Board absent prior

authorization. See 2017 Order. These limitations are justified in consideration of the fact that

“the [OIG] obtains and secures national security and law enforcement sensitive information,” id.,

and, as a result, the office’s reports could “include, for example, findings and recommendations

regarding sensitive posting locations for USCP officers and personnel in the Capitol building and

on Capitol Grounds in order to improve the security and safety of the Capitol and USCP

protectees,” or sensitive details regarding particular internal USCP programs in their

recommendations for “comprehensive compliance.” IG Decl. ¶ 7. Again, the OIG reports’

designation as security information and the concomitant limitations on its access pursuant to 2

U.S.C. § 1979 (b) are proper.

       As a result, the common-law right of public access is not in play as to the requested OIG

reports (both the semiannual reports from 2015 forward and the other reports, including audits,

from 2008 forward) and to the 65 USCP written directives classified as security information.

                       b)     Two-Part Test for Application of Common-Law Right of Public
                       Access Applies to 36 USCP Non-Security Information Written Directives

       The remaining documents at issue that are not subject to a particular statutory disclosure

scheme, must be considered under the two-step process outlined by the D.C. Circuit for

determining whether the common-law right of access applies. Wash. Legal Found. v. U.S. Sent’g

Comm’n (“WLF I”), 17 F.3d 1446, 1451–52 (D.C. Cir. 1994). First, a court must decide

“whether the document sought is a ‘public record,’” id. at 1451, and, if it is, then, second, “the

court should proceed to balance the government’s interest in keeping the document secret against

the public’s interest in disclosure,” id. at 1451–52; see also WLF II, 89 F.3d at 899 (summarizing

prior holding). As to the first prong, under “federal common law,” a “public record” subject to


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the public right of access "is a government document created and kept for the purpose of

memorializing or recording an official action, decision, statement, or other matter of legal

significance, broadly conceived." Id. at 905; see also Am. Int'! Grp. , 712 F.3d at 3 (same) . In

applying the second prong of this test, courts "should focus on the specific nature of the

governmental and public interests as they relate to the document itself," rather than engaging in

"an abstract inquiiy." WLF I, 17 F.3d at 1452.

       In WLF I, the D.C. Circuit found that the "district court eITed" by concluding

categorically that the common-law right did not apply "without knowing" precisely which

documents were at issue, and thus instrncted that "the court should have analyzed each catego1y

of document requested." Id. Here, only one catego1y of documents remains as to which the

common-law right of access arguably applies, namely, the 36 USCP written directives in effect

on Januaiy 6, 2021 that are not classified as security info1mation. See OGC Deel. ,r 8. As

explained below, these 36 USCP written dii·ectives do not satisfy the two-pat1 public access test.

                              (I)    The 36 USCP Non-Security Information Written Directives
                              Are Not Public Records.

       As an initial matter, the 36 USCP Dii·ectives that do not qualify as security info1mation

also do not qualify as "public records," as that tenn has been described by the D.C. Cil·cuit. Not

eve1y ministerial or preliininaiy action by a government entity amounts to the creation of a

"public record." In fashioning the definition of "public records" subject to the common law right

of public access, the D.C. Circuit aiticulated two guidep osts: "adequately protect[ing] the

public's interest in keeping a watchful eye on the workings of public agencies-an interest we

regard as fundainental to a democratic state," WLF II, 89 F.3d at 905 (internal quotations and

citations omitted), and "yet natTow enough to avoid the necessity for judicial application of the

second-step balancing test to documents that are preliininaiy, adviso1y, or, for one reason or


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another, do not eventuate in any official action or decision being taken,” id. As examples of the

latter materials “not encompass[ed]” by the definition, the Circuit cited “the preliminary

materials upon which an official relied in making a decision or other writings incidental to the

decision itself—for example, the report of a blood test provided in support of an application for a

marriage license, the job application of a would-be government employee, a government

auditor’s preliminary notes used in the preparation of an official report, or a cover memorandum

circulated with a copy of an official report or study.” Id. at 905-06. Cf. 5 U.S.C. § 552(b)(2)

(FOIA provision exempting from disclosure agency records that are “related solely to the

internal personnel rules and practices of an agency”).

       The 36 non-security information directives at issue may be consulted to guide the action

of USCP personnel but, as such, amount to preliminary material and advisory guidance that may

only eventually lead to an official action. The directives deal with topics like employee social

media use, internal complaint and grievance processes, training, specific types of interactions

with the public, and guidance governing investigations, arrests, and traffic enforcement. See

Defs.’ Mot., Ex. C, List of Directives, ECF No. 19-7. These written directives are internal

memoranda and guidance for USCP employees that is intended to “establish forward-looking

policies or guidance for [USCP] personnel in executing their job responsibilities.” OGC. Decl.

¶ 11. Only after considering this guidance may USCP personnel reach a point of “tak[ing]

official action or mak[ing] an official decision.” Id. These documents do not “memorialize or

record any official action taken by the [USCP],” Pentagen Techs. Int’l, Ltd. v. Comm. on

Appropriations of the U. S. House of Representatives, 20 F. Supp. 2d 41, 45 (D.D.C. 1998),

aff’d, 194 F.3d 174 (D.C. Cir. 1999), and instead concern only the sort of “administrative matters

internal to the [USCP]” that the D.C. Circuit has held not to be public records, WLF II, 89 F.3d at



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900. Thus, the non-security information written directives do not constitute “public records” as

the term has been construed by the D.C. Circuit, and therefore do not give rise to the common-

law right of public access.

                                (2)    The Government’s Interest in Secrecy Outweighs the
                                Public’s Interest in Disclosure of the 36 USCP Non-Security
                                Information Written Directives.

        For good measure, even if the 36 USCP written directives qualified as public records,

their requested disclosure would nonetheless fail the second part of the test for public access,

which requires “balanc[ing] the government’s interest in keeping the document[s] secret against

the public’s interest in disclosure.” WLF II, 89 F.3d at 903. The D.C. Circuit has made clear

that “the government has a compelling interest in protecting the secrecy of information important

to our national security” and that the “need to guard against risks to national security interests

overcomes a common-law claim for access.” Dhiab v. Trump, 852 F.3d 1087, 1098 (D.C. Cir.

2017) (internal quotations and citations omitted); see also Am. Int’l Grp., 712 F.3d at 3 (“Of

course, even if a document is a record of the type subject to the common law right of access, the

right is not absolute: it is defeated when the government’s interest in secrecy outweighs the

public’s interest in disclosure.”).

        All the written directives at issue—including the 36 not considered “security

information” under 2 U.S.C. § 1979(a)—are designated “Law Enforcement Sensitive,” a label

widely used “throughout federal state, and local law enforcement agencies to control and

safeguard sensitive information.” OGC Decl. ¶ 11. The USCP treats information so labelled as

accessible on a need-to-know basis only and as requiring “reasonab[le] protection from

unauthorized disclosure.” Id. While plaintiffs correctly assert that in general, “[m]atters of

substantive law enforcement policy . . . are properly the subject of public concern,” Pls.’ Opp’n

at 14 (quoting Citizens for Responsibility & Ethics in Wash. v. U.S. Dep’t of Justice, 746 F.3d
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1082, 1093 (D.C. Cir. 2014)), the 36 non-security information directives at issue are

administrative and personnel-related in nature and focus on the internal workings of USCP as an

organization rather than the manner in which USCP substantively enforces the law. As

defendants point out, certain of these “USCP directives describe ‘information related solely to

the internal personnel rules and practices of an agency’ and would fall under Exemption 2 of the

Freedom of Information Act, if the USCP were subject to the [FOIA].” OGC Decl. ¶ 11; see

also FOIA, 5 U.S.C. § 552(b)(2) (exempting from federal agency disclosure obligations “matters

that are . . . related solely to the internal personnel rules and practices of an agency”). Such

internal administrative information may relate to “trivial administrative matters of no genuine

public interest,” Pub. Citizen, Inc. v. Office of Mgmt. and Budget, 569 F.3d 434, 439 (D.C. Cir.

2009) (addressing FOIA Exemption 2) (quoting Schiller v. NLRB, 964 F.2d 1205, 1207 (D.C.

Cir. 1992)), and even minimal public interest would, in any event, be outweighed by the

government’s interest in restricting access to Law Enforcement Sensitive information, disclosure

of which, USCP cautions, “could unduly reveal the methods, techniques, and responses that the

USCP employs for Capitol Grounds security and could also increase the potential for individuals

and groups that wish to disrupt, attack, or harm the Capitol or the Congress to do so,” OGC Decl.

¶ 12.

                                                      ***

        Consequently, disclosure of the requested documents under the common-law right of

public access is not required.

               3.     No Statutory Duty to Disclose the Requested Records

        As an alternative to the common law right of access, plaintiffs point to various provisions

of the organic statute creating the USCP OIG, 2 U.S.C. § 1909, as providing a statutory right of



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access to the OIG semiannual reports, but their reasoning is predicated on repeated misreading of

the statutory text and therefore fails.

        First, plaintiffs assert that 2 U.S.C. § 1909(c)(2), which incorporates certain provisions of

the Inspector General Act of 1978, 5 U.S.C. App. 3 (the “IG Act”), is a statutory source for

defendants’ purported duty to disclose the requested OIG semiannual reports. See Am. Compl.

¶¶ 9-11. This statutory provision, § 1909(c)(2), consists of three sentences, the first of which

provides that:

        The Inspector General shall prepare and submit semiannual reports summarizing the
        activities of the Office in the same manner, and in accordance with the same deadlines,
        terms, and conditions, as an Inspector General of an establishment under section 5 (other
        than subsection (a)(13) thereof) of the Inspector General Act of 1978, (5 U.S.C. App.
        5)[,]

2 U.S.C. § 1909(c)(2), and the last sentence of which provides that:

        The Chief [of the Capitol Police] shall, within 30 days of receipt of a report, report to the
        Capitol Police Board, the Committee on House Administration, the Senate Committee on
        Rules and Administration, and the Committees on Appropriations of the House of
        Representatives and of the Senate consistent with section 5(b) of such Act.

Id. Plaintiffs seemingly conflate the first and last sentences to read § 1909(c)(2) as requiring the

USCP OIG to disclose to the public, upon request, semiannual reports as other OIGs are required

to do under 5 U.S.C. App. 3 § 5(c). Yet, the incorporation of IG Act provisions in the first

sentence only applies to the manner in which the USCP IG “prepare[s] and submit[s]”

semiannual reports, not to its subsequent dissemination. See 2 U.S.C. § 1909(c)(2). The final

sentence of § 1909(c)(2) addresses dissemination of the semiannual reports by the Chief of

USCP to various congressional entities, and makes no provision for public access nor

incorporates the public disclosure requirements of the IG Act. See id. In short, § 1909(c)(2)

imposes no statutory duty on defendants to disclose the semiannual reports, and thus cannot

trigger the Larson-Dugan exception to sovereign immunity.

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         Plaintiffs also invoke 2 U.S.C. § 1909(c)(1) as the source of a separate duty to disclose

the remaining requested OIG reports, including audits. Pls.’ Opp’n at 40–45; Am. Compl.

¶¶ 12–17. Again, their argument hinges on the reference to the IG Act in § 1909(c)(1), which

provides:

         The Inspector General shall carry out the same duties and responsibilities with respect to
         the United States Capitol Police as an Inspector General of an establishment carries out
         with respect to an establishment under section 4 of the Inspector General Act of 1978, (5
         U.S.C. App. 4), under the same terms and conditions which apply under such section.

2 U.S.C. § 1909(c)(1). The plaintiffs contend that by dint of this subsection, two provisions of

the IG Act—section 4(e)(1) and section 8M(b)(1)(A), each of which requires certain reports to

be posted to the Inspector General’s website—apply to impose a duty of disclosure on the USCP

OIG. Pls.’ Opp’n at 40–41; Compl. ¶¶ 12–17; see 5 U.S.C. App. 3 § 4(e)(1) (“In carrying out the

duties and responsibilities established under this Act, whenever an Inspector General issues a

recommendation for corrective action to the agency, the Inspector General . . . not later than 3

days after the recommendation for corrective action is submitted in final form to the head of the

establish, [shall] post the document making a recommendation for corrective action on the

website of the Office of Inspector General.”); 7 id. § 8M(b)(1)(A) (“The Inspector General of

each Federal agency and designated Federal entity shall . . . not later than 3 days after any audit

report, inspection report, or evaluation report (or portion of any such report) is submitted in final

form to the head of the Federal agency or head of the designated Federal entity, as applicable,

post that report (or portion of that report) on the website of the Office of Inspector General.”).




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         This provision of the IG Act may be ambiguous as to whether the operative modal verb in section
4(e)(1)(C) is “shall” (from section 4(e)(1)(A)) or “may” (from section 4(e)(1)(B)). The Court concludes that this
provision is not incorporated by reference into 2 U.S.C.§ 1909(c)(1) regardless and that the distinction is without
consequence here.

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       Neither provision of the IG Act relied upon by plaintiffs works to provide relief here.

First, 2 U.S.C. § 1909(c)(1) makes no reference to, and therefore does not incorporate, 5 U.S.C.

App. 3 § 8M(b)(1)(A). Indeed, Section 8M’s posting requirement only applies to the Inspectors

General of “Federal agenc[ies]” and “designated Federal entit[ies],” both of which are defined

terms that do not include the USCP. See 5 U.S.C. App. 3 § 8M(b)(1)(A), (c); id. § 8G(a); id.

§12(5). Second, while 2 U.S.C. § 1909(c)(1) does incorporate 5 U.S.C. App. 3 § 4(e)(1), the

public posting requirement in section 4(e)(1) was not added until 2016, see Inspector General

Empowerment Act of 2016, Pub. L. No. 114-317, § 4(d) , 130 Stat. 1595, 1602 (2016) (adding

subsection 4(e)(1) to the IG Act), years after the enactment of 2 U.S.C. § 1909(c)(1) in 2005, see

Legislative Branch Appropriations Act, 2006, Pub. L. No. 109-55, § 1004, 119 Stat. 572 (2005).

The Supreme Court has recently explained that “a statute that refers to another statute by specific

title or section number in effect cuts and pastes the referenced statute as it existed when the

referring statute was enacted, without any subsequent amendments.” Jam v. Int’l Fin. Corp., 139

S.Ct. 759, 769 (2019). 2 U.S.C. § 1909(c)(1) does precisely that, and so its reference to the

“duties” under section 4 of the IG Act does not include the subsequently added duty of public

disclosure.

       In sum, contrary to plaintiffs’ arguments, no statutory duty of disclosure for the requested

USCP OIG semiannual reports or other reports, including audits, is imposed by 2 U.S.C.

§1909(c)(1) or (c)(2).

IV.    CONCLUSION

       For the reasons set forth above, plaintiffs have no right to demand disclosure of the 101

USCP written directives in effect on January 6, 2021 and the USCP OIG reports, including

semiannual reports from 2015 forward and other reports, including audits, from 2008 forward,



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and thus defendants ' non-disclosure of these records does not trigger the Larson-Dugan

exception to sovereign immunity. This case is therefore dismissed for lack of subject-matter

jurisdiction.

        An Order consistent with this Memorandum Opinion will be entered contemporaneously.

        Date: September 20, 2022

                                                    -~/.~
                                                    BERYL A. HOWELL
                                                    Chief Judge




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


JASON LEOPOLD,                                  )
                                                )
               PLAINTIFF                        ) Civil Action No. 1:21-cv-465 (BAH)
       vs.                                      )
                                                )
                                                )
J. THOMAS MANGER, et al.,
                                                )
                                                )
                                                )
               DEFENDANTS                       )
                                                )
                                                )


                       NOTICE OF APPEAL TO THE D.C. CIRCUIT


   Notice is hereby given this 18th day of November that Plaintiff Jason Leopold appeals to the

United States Court of Appeals for the D.C. Circuit from the order of this Court entered September

20, 2022 [ECF: dkt 28] granting judgment to Defendants.



                                                      Respectfully Submitted,

                                                      __/s/ Jeffrey Light_______________
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                                                         Washington, DC 20006
                                                         (202)277-6213
                                                         Jeffrey@LawOfficeOfJeffreyLight.com

                                                          Counsel for Plaintiffs




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                         CERTIFICATE OF SERVICE


      I hereby certify that this 20th day of April 2023, I caused to be filed with

   the Court by way of the ECF filing system the Corrected Joint Appendix. I

   also caused the Joint Appendix to be served on all parties through the

   Court’s ECF filing system.



                                                 _/s/ Jeffrey L. Light_________
                                                 Jeffrey L. Light
